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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


OBEL CRUZ-GARCIA,                            Case No. 4:17-CV-03621
     Petitioner,

   v.

BOBBY LUMPKIN, Director,                     District Judge Lee H. Rosenthal
Texas Department of Criminal Justice,
Correctional Institutions Division,               CAPITAL CASE
       Respondent.



                REPLY IN SUPPORT OF SECOND AMENDED PETITION



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I.      LEGAL ARGUMENTS APPLICABLE TO MULTIPLE CLAIMS

                         A. Standard of Review

            In federal habeas corpus review, the relitigation bar of 28 U.S.C. § 2254(d) must be met, or

 shown not to apply, 1 before a federal court may grant relief on a claim that was adjudicated on the

 merits in state court. To satisfy the relitigation bar, the state court adjudication must have “resulted

 in a decision that was contrary to, or involved an unreasonable application of, clearly established

 Federal law, as determined by the Supreme Court of the United States” or “resulted in a decision

 that was based on an unreasonable determination of the facts in light of the evidence presented in

 the State court proceeding.” 28 U.S.C. § 2254(d)(1)–(2).

            The Director asserts that “the focus of th[e] [§ 2254(d)] test is not on the state court’s method

 of reasoning, but rather on its ultimate legal conclusion.” ECF No. 85 at 27. In support, the Director

 cites the following passage from Neal v. Puckett, 286 F.3d 230, 246 (5th Cir. 2002) (en banc): “It

 seems clear to us that a federal habeas court is authorized by Section 2254(d) to review only a state

 court’s ‘decision,’ and not the written opinion explaining that decision.” Quoting Harrington v.

 Richter, 562 U.S. 86 (2011), the Director also asserts that “[t]o determine if the state court made an

 unreasonable application, a federal court ‘must determine what arguments or theories supported or

 . . . could have supported, the state court’s decision; and then it must ask whether it is possible

 fairminded jurists could disagree that those arguments or theories are inconsistent with the holding

 in a prior decision of this Court.’” ECF No. 85 at 27 (quoting Richter, 562 U.S. at 87).

            The Director’s summary of the law is incorrect and ignores the Supreme Court’s later

 decision in Wilson v. Sellers, 138 S. Ct. 1188 (2018). In that case, the Supreme Court made clear that



 1
     See below Section I C (on why § 2254(d) should not apply to Mr. Cruz-Garcia’s case)

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where, as here, there are reasoned state court decisions explaining the basis of the state court’s

rejection of the petitioner’s claims on the merits, Richter’s “could have supported” framework does

not apply. Id. at 1195–96. Instead, the federal habeas court “reviews the specific reasons given by the

state court and defers to those reasons if they are reasonable.” Id. at 1192 (emphasis added).

        Wilson addressed the situation where a federal court reviews a decision from the state’s

highest court that does not explain its reasoning for denying relief, but where a lower state court has

articulated its reasoning for the denial. In that instance, federal courts have been clearly instructed

to “look through the unexplained decision to the last related state-court decision that does provide

a relevant rationale.” Wilson, 138 S. Ct. at 1192 (internal quotation marks omitted). A federal court

must assume that the unexplained decision utilized the same reasoning as the explained decision,

subject to rebuttal. Id.

        The Supreme Court made clear that the framework outlined in Richter is not applicable

where the “look through” presumption exists. Under Richter, when a reasoned state court decision

does not exist, a federal court may “imagine what might have been the state court’s supportive

reasoning.” Wilson, 138 S. Ct. at 1194–95. When the “look through” presumption applies, however,

a federal habeas court cannot invent reasons not articulated by the state court when conducting its

§ 2254(d) assessment. Rather, § 2254(d) “requires the federal habeas court to ‘train its attention on

the particular reasons—both legal and factual—why state courts rejected a state prisoner’s federal

claims,’ and to give appropriate deference to that decision.” Wilson, 138 S. Ct. at 1191–92 (quoting

Hittson v. Chatman, 135 S. Ct. 2126 (2015) (Ginsburg, J., concurring in denial of certiorari)). That

is, when the highest state court either issues its own reasoned opinion or adopts the reasoned




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opinion of a lower state court, the federal court must base its § 2254(d) review on the state court’s

articulated reasons for denying the petitioner’s claims.

        The Fifth Circuit has summarized Wilson’s holding as follows:

        The Supreme Court recently explained in its decision in Wilson v. Sellers that
        applying the AEDPA deferential standard found in § 2254(d) “requires the federal
        habeas court to ‘train its attention on the particular reasons—both legal and factual—
        why state courts rejected a state prisoner’s federal claims,’ and to give appropriate
        deference to that decision.” When the relevant state court decision on the merits
        does not provide reasons, “the federal court should ‘look through’ the unexplained
        decision to the last related state-court decision that does provide a relevant
        rationale.” The federal habeas court “should then presume that the
        unexplained decision adopted the same reasoning.”

Gilkers v. Vannoy, 904 F.3d 336, 344–45 (5th Cir. 2018) (quoting Wilson, 138 S. Ct. at 1191–92).

The Fifth Circuit has questioned “[t]he continued viability” of Neal’s approach in light of Wilson.

Thomas v. Vannoy, 898 F.3d 561, 568–69 (5th Cir. 2018). The Fifth Circuit has also made clear that,

post-Wilson, “the state court’s reasoning can matter.” Langley v. Prince, 926 F.3d 145, 168 (5th Cir.

2019) (en banc).

        Although the Fifth Circuit has not had the occasion to directly rule on “Neal’s continuing

vitality in the wake of Wilson,” Sheppard v. Davis, 967 F.3d 458, 467 (5th Cir. 2020) (en banc), it has

regularly applied the Wilson framework, see, e.g., Gardner v. Davis, 779 F. Appx. 187, 189 (5th Cir.

2019); Smith v. Davis, 927 F.3d 313, 321 (5th Cir. 2019); Cueva v. Davis, 750 F. Appx. 330, 333 n.2

(5th Cir. 2018); Uranga v. Davis, 893 F.3d 282, 287 n.33 (5th Cir. 2018). The prevailing view in

other circuits is that Wilson requires the federal habeas court to conduct its § 2254(d) analysis based

on the state court’s specific reasoning and factual findings, rather than only the state court’s ultimate

decision. Coleman v. Bradshaw, 974 F.3d 710, 719 (6th Cir. 2020) (“AEDPA requires this court to

review the actual grounds on which the state court relied.”); Winfield v. Dorethy, 956 F.3d 442, 454


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(7th Cir. 2020) (“Having found the state court’s ‘specific reasons’ for denying relief, the next

question is whether that explanation was reasonable thereby requiring our deference.”); see also Porter

v. Coyne-Fague, 35 F.4th 68, 74–75 (1st Cir. 2022); Richardson v. Kornegay, 3 F.4th 687, 697–98 (4th

Cir. 2021); Kipp v. Davis, 971 F.3d 939, 948–60 (9th Cir. 2020); Scrimo v. Lee, 935 F.3d 103, 111–

12 (2d Cir. 2019).

           Here, the CCA denied Mr. Cruz-Garcia’s direct appeal claims in a reasoned opinion. Cruz-

Garcia v. State, 2015 WL 6528727 (Tex. Crim. App. 2015). In state habeas, the trial court issued

findings of fact and conclusions of law, which the CCA accepted with respect to the claims it

adjudicated on the merits, although it defaulted other claims on state law grounds. 2 Ex parte Cruz-

Garcia, 2017 WL 4947132 (Tex. Crim. App. 2017). Accordingly, for those claims to which § 2254(d)

applies, this Court must “train its attention on the particular reasons—both legal and factual—why

state courts rejected” Mr. Cruz-Garcia’s claims in conducting its § 2254(d) analysis. Wilson, 138 S.

Ct. at 1191–92. As discussed below, because those particular legal and factual findings were not

reasonable, this Court can consider the claims de novo and in light of new evidence, including the

evidence Mr. Cruz-Garcia develops in discovery. Smith v. Cain, 708 F.3d 628, 635 (5th Cir. 2013)

(finding that if a federal court determines that § 2254(d) is satisfied, it may hold a hearing and

consider evidence outside the state court record).




2
    See, e.g, Claim One (explaining why the trial court’s fact findings on procedurally defaulted claims are inoperative).

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                   B. 28 U.S.C. § 2254(e)(2) does not preclude this Court from considering
                      evidence in the state court record and from conducting fact-development.

        At the outset of his Answer, the Director states:

        Cruz-Garcia largely relies on evidence in support of his arguments that were not
        properly presented to the state court. Cruz-Garcia fails to show that his claims fall
        within § 2254(e)(2)’s stringent exceptions to allow him to develop the record before
        this Court and present new evidence.

ECF No. 85 at 28. The Director, however, does not identify what claims or evidence this argument

pertains to. The Director also does not explain what he means by evidence or arguments “not

properly presented to the state court.” This argument is insufficiently briefed and the Director’s

arguments pertaining to 28 U.S.C. § 2254(e)(2) should therefore be deemed waived or forfeited.

        Whether § 2254(e)(2) can be waived or forfeited remains an open question in the Fifth

Circuit. Canales v. Davis, 966 F.3d 409, 412 n.1 (5th Cir. 2020). The respondent to a habeas petition

can waive or forfeit affirmative procedural defenses, including the statute of limitations, procedural

default, and nonretroactivity, based on a failure to raise them at the appropriate time or manner.

See Day v. McDonough, 547 U.S. 198, 202 (2006) (noting that the State can waive a statute of

limitations defense); Gray v. Netherland, 518 U.S. 152, 165–66 (1996) (explaining that the State is

“obligated to raise procedural default as a defense, or lose the right to assert the defense

thereafter.”); Danforth v. Minnesota, 552 U.S. 264, 289 (2008) (“We have held that States can waive

a Teague defense, during the course of litigation, by expressly choosing not to rely on it . . . or by

failing to raise it in a timely manner.”). Just like the statute of limitations, codified in § 2244(d)(1),

the language of § 2254(e)(2) is not framed in jurisdictional terms and it can be waived or forfeited.

This is further supported by that fact that when Congress wanted to apply heightened waiver




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standards under AEDPA, it explicitly did so. See § 2254(b)(3). It did not do so in § 2254(e)(2). Thus,

that Section can be waived or forfeited, as has occurred here.

        To the extent this Court nevertheless considers the Director’s arguments on the application

of § 2254(e)(2), the Director is wrong on the applicable law and its operation. He argues that Mr.

Cruz-Garcia’s claims must “fall within § 2254(e)(2)’s stringent exception to allow him to develop the

record before this Court and present new evidence.” ECF No. 85 at 28. This argument should not

persuade the Court for several reasons.

        First, the Director does not allege that Mr. Cruz-Garcia is at fault for failing to develop the

state court record. See ECF No. 85 at 28–30. Indeed, the Director’s recitation of §§ 2254(e)(2)(A)

and (B) omits the opening clause of § 2254(e)(2), which establishes that subsections (A) and (B) apply

only where “the applicant has failed to develop the factual basis of a claim in State court

proceedings.” Indeed, as the Director’s quote from Shoop v. Twyford explains, “when a federal habeas

court . . . admits or reviews new evidence for any purpose, it may not consider the evidence on the

merits of a negligent prisoner’s defaulted claim unless the exceptions in § 22254(e)(2) are satisfied.”

ECF No. 85 at 29 (quoting 142 S. Ct. 2037, 2046 (2022)) (emphasis added); see also Martinez Ramirez,

142 S. Ct. 1718, 1734 (2022) (stating that “§ 2254(e)(2) applies only when a prisoner ‘has failed to

develop the factual basis of a claim.’” (emphasis added)).

        Second, as Williams v. Taylor, 529 U.S. 420, 431 (2000), makes clear, the absence of fact

development in state court does not in and of itself constitute fault under § 2254(e)(2). In other

words, the absence of fact development in state court does not automatically trigger the application

of §§ 2254(e)(2)(A) and (B). Instead, under the opening clause of § 2254(e)(2), “a failure to develop

the factual basis of a claim is not established unless there is lack of diligence, or some greater fault,


                                                   6
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attributable to the prisoner or the prisoner’s counsel.” Williams, 529 U.S. at 432. Hence, where “the

prisoner made a reasonable attempt, in light of the information available at the time, to investigate

and pursue claims in state court,” § 2254(e)(2) does not preclude his request for fact development

in federal court and subsections (A) and (B) do not apply. Id. at 435. For example, where a petitioner

alleges that he was unable to develop the state court record on a Brady claim due to state suppression,

a petitioner need not meet §§ 2254(e)(2)(A) and (B). See id. at 434.

           Finally, in this section of his brief, the Director also relies heavily on the Supreme Court’s

recent holding in Martinez Ramirez that the ineffectiveness of state habeas counsel does not disarm

28 U.S.C. § 2254(e)(2). ECF No. 85 at 29–30. There, the Supreme Court held that, where a

petitioner is at fault under § 2254(e)(2) for failing to develop his ineffective-assistance-of-trial-counsel

claim and cannot meet subsections (A) and (B), a federal court “may not hold an evidentiary

hearing—or otherwise consider new evidence—to assess cause and prejudice under Martinez.[3]”

Martinez Ramirez, 142 S. Ct. at 1739. As this language makes clear, however, this bars a petitioner

from developing facts establishing cause and prejudice only where (1) the defaulted claim is an

ineffective assistance of trial counsel claim, and (2) the petitioner is at fault within the meaning of §

2254(e)(2) for failing to develop the factual record on that claim in state court. Conversely, a federal

court may still allow a petitioner to develop facts on the cause-and-prejudice question where the

petitioner seeks to overcome the default of a claim on a ground other than Martinez and the

petitioner is not at fault within the meaning of § 2254(e)(2) for failing to develop the state court

record on that claim.




3
    Martinez v. Ryan, 566 U.S. 1 (2012).

                                                     7
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         The Director also argues that this Court may not consider “the evidence that [Mr. Cruz-

Garcia] did not properly present to the CCA—including the evidence he submitted in his subsequent

state habeas proceedings[.]” ECF No. 85 at 29. Again, the Director does not identify what specific

evidence he thinks is excluded. 4 Nor does the Director explain what he means by “not properly

before the CCA.” Id. The Director continues, “[i]ndeed, a petitioner’s failure to diligently present

his unexhausted evidence to the state court precludes evidentiary development of the claims in this

Court.” Id. at 29–30 (citing Jones v. Davis, 890 F.3d 559, 566 (5th Cir. 2018)). 5 But that observation

merely restates the § 2254(e)(2) bar on fact development in federal court, which is triggered when a

petitioner is at fault for failing to develop the factual record in state court. It does not follow from

this statement that a federal court cannot consider evidence that was raised in successive state habeas

proceedings. That evidence is part of the state court record and § 2254(e)(2) is therefore not

implicated. Put another way, a petitioner’s reliance on evidence included in successive state habeas

proceedings does not amount to requesting fact development in federal court.

         Indeed, the state court record is not limited to the record that the petitioner developed in

initial state court proceedings. Rather, the state court record may be expanded by subsequent state

court litigation that occurs after initial state proceedings have commenced and after the federal

proceedings have begun. The Supreme Court’s decision in Trevino v. Thaler, 569 U.S. 413 (2013),

illustrates this point.



4
 Mr. Cruz-Garcia’s Second Subsequent Petition in state court relied on evidence that was also before the CCA in the
context of his initial state habeas proceedings.
5
 The Director cites to Jones v. Davis, 890 F.3d 559, 566–67 (5th Cir. 2018) in support of this argument. There,
however, the Fifth Circuit confronted a very different scenario, in which the petitioner sought to introduce new
evidence in support of a procedurally defaulted claim for the first time in federal court. That evidence was barred by 28
U.S.C. § 2254(e)(2), not by the procedural default in state court.


                                                            8
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        In Trevino, the petitioner’s ineffective-assistance-of-counsel claim was initially unexhausted

(i.e., the petitioner had not presented the claim during his state post-conviction proceedings). Id. at

419. The federal district court issued a stay under Rhines v. Weber, 544 U.S. 269 (2005), so that the

petitioner could return to state court to exhaust the claim. Trevino, 569 U.S. at 419. The state court

held that the claim was procedurally defaulted because the petitioner had not raised it in his initial

state court proceedings. Id. The federal district court likewise held that the claim was procedurally

defaulted but was subsequently reversed by the Supreme Court. Id. at 419–20. In doing so, the Court

held that the equitable exception to procedural default announced in Martinez v. Ryan (ineffective

assistance of state habeas counsel) applies to Texas cases. Id. at 429. On remand, the lower federal

courts were free to consider the evidence that the petitioner had submitted in his successive state

court application. It did not matter that the evidence at issue had not been submitted in the

petitioner’s initial state habeas application, nor did it matter that the state courts had rejected the

claim on procedural grounds when that evidence was presented in a subsequent petition. See Trevino

v. Davis, 861 F.3d 545, 549–51 (5th Cir. 2017).

        Hence, as in Trevino, the evidence that Mr. Cruz-Garcia presented in his successive state

habeas proceedings—even where those proceedings resulted in the procedural default of the

underlying claims—is part of the state record that is now before this Court. 6 Section 2254(e)(2) does


6
 This view was endorsed by the State of Texas in an amicus brief authored by the Texas Attorney General’s Office and
submitted to the Supreme Court in Martinez Ramirez:

        Moreover, evidence developed in state court for other purposes, such as to support a different claim
        or overcome a state procedural bar, can be considered in federal court to support a Martinez-excused
        ineffective-assistance claim consistent with section 2254(e)(2). See, e.g., Apelt v. Ryan, 878 F.3d 800,
        825–34 (9th Cir. 2017) (considering evidence presented in state court and rejected on state-law
        procedural grounds in conjunction with a claim excused by Martinez). Trevino itself was an example of
        this principle in action. Before that case reached this Court, Trevino discovered evidence which could
        support claims that he did not raise in initial state habeas proceedings. 569 U.S. at 419. The district
        court stayed federal-habeas proceedings so Trevino could exhaust state remedies. Id. at 419–20. When

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not preclude this Court from considering that evidence, whether to resolve cause and prejudice or

to resolve the merits of his claims.

                     C. The relitigation bar should not apply because the state habeas process did
                        not comport with state law or due process.

        In his Second Amended Petition, Mr. Cruz-Garcia identified a variety of ways in which his

due-process rights were violated during state habeas proceedings. See ECF No. 73 at 12–20. This

included allegations both that the state court failed to follow the statutory framework and that the

process by which his claims were resolved violated due process. Id. The Director’s Answer fails to

engage in any analysis of most of Mr. Cruz-Garcia’s assertions. Instead, the Director argues that the

state court could not have violated Mr. Cruz-Garcia’s due-process rights because none of the

infirmities that Mr. Cruz-Garcia has asserted regarding the state court process violated a “process

mandated by federal law.” ECF No. 85 at 31 (emphasis in original).

        But it does not matter whether the underlying liberty interest was created by the state or by

the federal government. Because Texas decided to create a statutory framework for processing habeas

claims, it must comport with due process in deploying it. See Swarthout v. Cooke, 562 U.S. 216, 220

(2011) (“When, however, a State creates a liberty interest, the Due Process Clause requires fair

procedures for its vindication—and federal courts will review the application of those constitutionally

required procedures.”). It makes no difference to the due-process analysis whether the state system

was designed to vindicate state or federal rights. The Director’s repeated claims that Mr. Cruz-Garcia


        Trevino returned to federal court, his ineffective-assistance claim and the evidence supporting it were
        incorporated in the state-court record and cognizable in federal-habeas proceedings (provided cause
        and prejudice existed to overcome procedural default). See id. at 420–21. That result is consistent with
        a faithful reading of section 2254(e)(2).

Brief amici curiae of The States of Texas, Alabama, Arkansas, Florida, Indiana, Kentucky, Mississippi, Missouri,
Nebraska, Ohio, Oregon, South Carolina, and Utah, p. 16, Shinn v. Martinez Ramirez, 142 S. Ct. 1718 (2022).


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is not entitled to due-process protections unless he can show a federal constitutional right to a state

habeas proceeding is incorrect as a matter of law. ECF No. 85 at 32.

       Although the Director repeatedly cautions that a “full and fair hearing in state court is not a

prerequisite to applying AEDPA’s deferential scheme,” that does not end the matter. ECF No. 85

at 31, 33 (citing Wiley v. Epps, 625 F.3d 199, 207 (5th Cir. 2010)). Regardless of whether a “full and

fair hearing” occurred, the state proceeding that did occur must comport with due process to be

entitled to deference under AEDPA. Here, it did not. Thus, this Court does not owe deference to

the state court resolution of these claims under § 2254(d), § 2254(e), or any other provision of

AEDPA that would normally require deference to the state proceeding.

                   D. Cumulative Prejudice

       In Mr. Cruz-Garcia’s Second Amended Petition, he explained why this Court should

cumulate the prejudice resulting from the numerous constitutional violations that occurred during

this trial. ECF No. 73 at 45–47. In support of that argument, Mr. Cruz-Garcia identified cases from

the United States Supreme Court, the Fifth Circuit, and other circuit courts that have vacated

criminal convictions due to the cumulative prejudice resulting from multiple constitutional

violations. Id. The Director does not directly dispute this in his Answer. ECF No. 85 at 33–34. Nor

does the Director address or distinguish any of the case law cited by Mr. Cruz-Garcia. Instead, the

Director asserts that “the Fifth Circuit has declined to aggregate non-constitutional errors to form

an independent claim on collateral review.” Id. at 33 (emphasis added). Mr. Cruz-Garcia is not

requesting that the Court “form an independent claim,” but rather that the court cumulate prejudice

across the claims in which the Court finds constitutional violations.

       The Director asserts that Mr. Cruz-Garcia cannot establish cumulative prejudice because his

“trial court error claims are procedurally defaulted, and Cruz-Garcia fails to show any trial court
                                                  11
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  errors of constitutional dimension[.]” ECF No. 85 at 34. The Director does not identify what he

  means by “trial court errors.” Every claim Mr. Cruz-Garcia raised in his Second Amended Petition

  alleges a violation of the federal Constitution and is therefore “of constitutional dimension.”

  Moreover, as set out under the relevant claims, Mr. Cruz-Garcia can overcome the procedural default

  of his claims.

          Mr. Cruz-Garcia has shown errors of constitutional magnitude throughout his Petition that

  individually each entitle him to relief. Taken together, the prejudice from these errors is

  overwhelming and “so infected the entire trial that the resulting conviction violates due process.”

  Derden v. McNeel, 978 F.2d 1453, 1454 (5th Cir. 1992).

II.   CLAIMS FOR RELIEF

                    Mr. Cruz-Garcia is entitled to relief on his juror misconduct claim.

                    A. This Court can review this claim de novo.

          In his Second Amended Petition, Mr. Cruz-Garcia explained that this Court could review

  Claim One A (external influence) and Claim One B (jurors discussing the evidence and sentence

  outside of deliberations) de novo because the CCA failed to adjudicate these federal claims on the

  merits. See ECF No. 73 at 54–57. He also argued, in the alternative, that if the state court did

  adjudicate the merits of Claim One A, this Court could review that claim de novo because the claim

  met the relitigation bar under 28 U.S.C. § 2254(d). Id. at 56–57.

          The Director asserts that “the CCA on direct appeal clearly addressed the constitutionality

  of the Bible reading in concluding the trial court did not abuse its discretion.” ECF No. 85 at 35.

  But, as is made clear by the Director’s framing of the CCA’s conclusion, the CCA resolved only the

  state law question of whether the trial court had erred under the Texas Rules of Evidence. See Cruz-

  Garcia v. State, 2015 WL 6528727, at *29 (Tex. Crim. App. 2015). The CCA discussed whether the

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Bible constituted an external influence only to determine whether the Texas Rules of Evidence

prohibited the trial court’s admission of jurors’ affidavits. But the CCA did not consider whether

Bible reading violated the federal Constitution. Tellingly, the Director does not identify any reliance

by the CCA on the federal Constitution or federal law. See ECF No. 85 at 35. Although a state court

does not necessarily need to reference federal law to resolve a federal claim, the CCA’s decision here

did not rule on the federal claim raised. Because Mr. Cruz-Garcia has rebutted the presumption that

Claim One A was adjudicated on the merits by the CCA, this Court can conduct de novo review. See

Johnson v. Williams, 568 U.S. 289, 301–02 (2013).

       Likewise, the Director argues that the CCA did adjudicate Claim One B in state habeas by

adopting the trial court’s findings of fact and conclusions law relating to jurors discussing the

evidence and sentence outside of punishment deliberations. ECF No. 85 at 36. This argument

ignores the CCA’s express rejection of those findings, based on its own ruling that state habeas

Claim 9 (alleging both external influence and juror misconduct) was procedurally barred because it

was “raised and rejected on direct appeal.” Ex parte Cruz-Garcia, 2017 WL 4947132, at *1 (Tex. Crim.

App. 2017). However, the allegation that jurors discussed the evidence and sentence outside

deliberations was not raised on direct appeal and therefore could not have been adjudicated on the

merits on direct appeal. It is of no avail to the Director’s argument that the CCA adopted the trial

court’s findings as to other claims. See ECF No. 85 at 36. Because Mr. Cruz-Garcia has rebutted the

presumption that Claim One B was adjudicated on the merits by the CCA, this Court can conduct

de novo review. See Johnson, 568 U.S. at 301–02.

       The Director does not expressly argue that Mr. Cruz-Garcia cannot meet the relitigation bar

under 28 U.S.C. § 2254(d) as to Claim One A. See ECF No. 85 at 34–42. In a separate section on


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the merits of Claim One A, however, the Director only asserts that “the CCA’s distinction [between

Mr. Cruz-Garcia’s case and Oliver v. Quarterman 7] contravened no clearly established federal

precedent.” Id. at 39. To the extent that this argument is intended to rebut Mr. Cruz-Garcia’s

arguments under § 2254(d)—assuming that § 2254(d) applies—it misses the mark. As shown by Mr.

Cruz-Garcia in his Second Amended Petition, the CCA’s adjudication on direct appeal of Mr. Cruz-

Garcia’s external influence claim resulted in a decision that was contrary to or unreasonably applied

clearly established federal law. 28 U.S.C. § 2254(d)(1). Indeed, on direct appeal, the CCA held as a

matter of law that the Bible does not constitute an external influence for purposes of the relevant

state evidentiary rule:

           This Court has never determined whether reference to the Bible during jury
           deliberations is an outside influence. Today we hold it is not.

Cruz-Garcia v. State, 2015 WL 6528727, at *28. That conclusion is plainly contradicted by the Fifth

Circuit’s holding in Oliver that, as a matter of clearly established Supreme Court precedent, the Bible

can constitute an external influence:

           Stemming from these clearly established Supreme Court precedents, it is clear that
           the prohibition of external influences from Remmer,[8] Turner,[9] and Parker[10] applies
           to this factual scenario.

Oliver, 541 F.3d at 336. In other words, the CCA’s conclusion that the Bible does not constitute an

external influence cannot be reconciled with clearly established Supreme Court precedent that it

can.


7
    541 F3d 329 (5th Cir. 2008)

8
    Remmer v. United State, 347 U.S. 227 (1954)

9
    Turner v. Louisiana, 379 U.S. 466 (1965)

10
     Parker v. Gladden, 385 U.S. 363 (1966)


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           The Director nevertheless argues that the CCA’s “distinction of Oliver on the facts is not an

unreasonable application of federal law.” ECF No. 85 at 39. That argument, however, is unavailing.

First, the passages that the Director relies upon from the CCA’s opinion only serve to further

underscore the CCA’s misapplication of clearly established Supreme Court precedent about external

influences. On whether the Bible could constitute an external influence, the CCA explained that:

           This compromise occurs, however, only when the outside evidence or influence
           relates directly to a question of fact left to the jury’s determination and improperly
           influences their verdict.

ECF No. 85 at 37 (citing Cruz-Garcia, 2015 WL 6528727, at *29). This very argument was rejected

by the Fifth Circuit in Oliver:

           The state urges us to consider solely whether the Bible passage at issue had any
           bearing on the factual questions the jury had to decide during the sentencing phase.
           [. . .] This argument misses the mark. The Bible served as an external influence
           precisely because it may have influenced the jurors simply to answer the questions in
           a manner that would ensure a sentence of death instead of conducting a thorough
           inquiry into these factual areas.

541 F.3d at 340. The Fifth Circuit cautioned that “a contrary holding would eviscerate the rule from

Remmer that jurors must rely on only the evidence and law presented in an open court room.” Id.

           Second, the Director points to the distinction drawn by the Fifth Circuit in Oliver with

Fourth Circuit precedent, Robinson v. Polk, 11 finding that the Bible did not constitute an external

influence where “a juror read[] general Biblical statements.” ECF No. 85 at 39 (quoting Oliver, 541

F.3d at 339). But Juror Clinger indicated that he read from Genesis 9 and Deuteronomy, which

include passages about the imposition of the death penalty, and from Romans 13, which discusses

the imposition of punishment. 3 CR 634. Hence, this is not a case where a juror read “general



11
     438 F.3d 350 (4th Cir. 2006)


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Biblical statements.” The Director also fails to point out that the Fifth Circuit found the dissent in

Robinson “more persuasive than the majority’s opinion.” Oliver, 541 F3d at 339. There, Judge King

unequivocally stated that he believed that Robinson was “being wrongly decided.” Robinson, 438 F.3d

at 368 (King J., dissenting in part). The Oliver court did not just distinguish Robinson on its facts; it

disagreed with Robinson’s legal conclusions. Oliver, 541 F3d at 339.

         Third, the Director’s reading of Oliver is far narrower than the plain language of that opinion

regarding the clearly established Supreme Court precedent on external influences. The Director

argues that the Fifth Circuit limited its opinion to the facts of the case by declining to address the

broader question of “whether a juror must leave his or her moral values at the door or even whether

a juror may consult the Bible for his or her own personal inspiration during the deliberation process[,

or] whether jurors must forget that, generally, the Bible includes the concept of an ‘eye for an eye.’” 12

ECF No. 85 at 39 (quoting Oliver, 541 F3d at 340). But that limitation does not vitiate the Fifth

Circuit’s finding that the Bible can—and on the facts of Oliver did—constitute an external influence

as a matter of clearly established Supreme Court precedent. Moreover, the Fifth Circuit observed

only that the similarity between the facts of the offense in Oliver and the Bible passages at issue made

the case “more egregious.” Oliver, 541 F3d at 340. In no way did the Fifth Circuit rule that a Bible

is an external influence only where the Bible passages at issue track the facts that jurors are

deliberating on.

         Finally, the Director’s argument that the CCA drew a meaningful factual distinction with

Oliver would require the Director to contradict the CCA’s own conclusion that any factual inquiry



12
  Moreover, Mr. Cruz-Garcia does not allege that jurors consulted the Bible “for their personal inspiration” or simply
had the Biblical concept of an ‘eye for an eye’ in mind.


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into the jury’s deliberative process was prohibited because the Bible did not constitute an external

influence. The CCA ruled that the jurors’ affidavits were inadmissible. Cruz-Garcia, 2015 WL

6528727, at *29. The CCA could not then have inquired into the facts underpinning Mr. Cruz-

Garcia’s allegations and thus drawn any meaningful distinction of fact with Oliver.

       The CCA’s holding as a matter of law on direct appeal that the Bible does not constitute an

external influence is clearly contrary to and an unreasonable application of established Supreme

Court precedent. This Court can therefore review this claim de novo.

                  B. The Bible was a harmful external influence.

       The Director argues that the Bible did not constitute an external influence because “unlike

Oliver, the Bible passages here were not used in substitution for the facts for punishment or in

guidance to interpret the facts before the jury.” ECF No. 85 at 39 (emphasis in original). In Oliver,

however, the Fifth Circuit rejected an argument along these lines and found that the Bible amounted

to an external influence because it “may have influenced the jurors simply to answer the questions

in a manner that would ensure a sentence of death instead of conducting a thorough inquiry into”

the questions of fact before the jury. Oliver, 541 F.3d at 340 (emphasis added). Whether the jurors

were thus influenced goes to the harmfulness of that external influence.

       Moreover, as noted supra, the Fifth Circuit described the facts in Oliver as “even more

egregious” than in cases in which other circuits have nevertheless found the Bible to amount to an

external influence. Oliver, 541 F.3d at 339–40. The Fifth Circuit agreed with McNair v. Campbell, in

which the Eleventh Circuit characterized the Bible as an external influence even though the Bible

passages themselves were “innocuous.” Id. at 336–37 (citing 416 F.3d 1291, 1307–08 (11th Cir.




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2005)). The Bible does not amount to an external influence only where it is used “in substitution”

for the facts.

            Finally, the Director also contends that “[r]egardless, Cruz-Garcia cannot show harm, as

required under Brecht.” ECF No. 85 at 39. In support of this argument, the Director points to four

supposed commonalities between the Oliver court’s finding of harmlessness and the facts of Mr.

Cruz-Garcia’s case. Id. at 39–40. That comparison misses the mark. Critically, in Oliver, the state

court had permitted extensive fact development, including live testimony from the jurors, and thus

produced a robust state court record to which the federal court owed deference. See Oliver, 541 F.3d

at 342. That record included specific findings on the question of harm. Id. By contrast, Mr. Cruz-

Garcia was not permitted to develop the fact record beyond the jurors’ affidavits and no findings

were ever made on harm.

            The Director alleges that the “extensive factual findings and credibility determination by the

trial court” enable this Court to decide the harm issue. ECF No. 85 at 40. But the Director does not

identify—let alone explain how—these findings purportedly enable this Court to decide harm. On

Mr. Cruz-Garcia’s Motion for New Trial, the trial court admitted the jurors’ affidavits and made no

findings of fact. 13 See 29 RR 27–28. The CCA later determined that the admission of jurors’

affidavits by the trial court was error. Cruz-Garcia, 2015 WL 6528727, at *29. And in state habeas,

the CCA expressly rejected the trial court’s findings on Mr. Cruz-Garcia’s claim of external


13
     On Mr. Cruz-Garcia’s allegation that the Bible constituted an external influence, the trial court said only the following:

            [B]y finding those affidavits are admissible that there is enough question as to whether this Bible
            production or Bible reading, whatever occurred may be an outside influence. I’m not of the opinion
            that it was based on everything that’s been provided to me in the case law, but we’re going to send it
            up and if the Court of Appeals –– Court of Criminal Appeals agrees with us on that.

29 RR 28.


                                                               18
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influence, as explained supra Claim One A. Moreover, by the Director’s own account in his Response

to Motion for Evidentiary Hearing, the trial court “recount[ed] the evidence developed at the motion

for new trial as well as during state habeas proceedings. . . noted on the record [its] disagreement

with portions of juror Bowman’s 2013 affidavit” and “f[ound] the affidavit of juror Clinger more

persuasive than juror Bowman’s 2015 habeas affidavit.” ECF No. 84 at 6–7. A recounting of the

evidence does not constitute a resolution of contradictory evidence, and the trial court never

addressed any of the other affidavits nor juror Clinger’s recorded interview.

        The Director cannot point to any resolution of the many contradictions within the state

court record, including the contradictions between Mr. Cruz-Garcia’s evidence and the State’s

evidence, as well as contradictions within the State’s own evidence. The state court has never

purported to resolve these contradictions. Indeed, based on the CCA’s determination on direct

appeal that the Bible did not constitute an external influence, the Texas Rules of Evidence

prohibited the state court from inquiring into the jury’s deliberative process. As acknowledged by

Mr. Cruz-Garcia in his Second Amended Petition and urged in his Motion for Evidentiary Hearing,

a hearing is required to resolve this claim.

                   C. Mr. Cruz-Garcia was harmed by the jurors’ discussion of the evidence and
                      sentence outside of deliberations.

        To rebut any harm arising from jurors’ discussion of the evidence and sentence outside of

the deliberation room, the Director relies on the trial court’s findings of fact as they pertain to Mr.

Cruz-Garcia’s allegations in state habeas of ineffective assistance of trial counsel. ECF No. 85 at 40–

41. The trial court’s inquiry asked only whether trial counsel were ineffective for failing to investigate

allegations that jurors were overheard discussing the evidence outside of deliberations. See 5 SHCR

1066–68. The trial court therefore did not address the merits of Mr. Cruz-Garcia’s stand-alone juror


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misconduct claim, including whether Mr. Cruz-Garcia was harmed by jurors’ discussions outside of

the deliberation room. Indeed, the findings quoted by the Director provide only a recap of those

discussions by jurors and do not address any resulting harm. ECF No. 85 at 40–41. Moreover, here,

the CCA expressly declined to adopt any findings pertaining to, and adjudicate the merits of, Mr.

Cruz-Garcia’s juror misconduct claim. Ex parte Cruz-Garcia, 2017 WL 4947132, at *1. Because there

has been no factfinding on this issue and no adjudication on the merits of these allegations, there

are no facts for this Court to defer to and this Court can review Mr. Cruz-Garcia’s claim de novo.


                   Mr. Cruz-Garcia is entitled to relief on his claim that his right to present a
                   complete defense and to confront-examine witnesses was violated.

                   A. Confrontation Clause

                        1. This Court can review Mr. Cruz-Garcia’s claim to avoid a miscarriage
                           of justice.

        In his Second Amended Petition, Mr. Cruz-Garcia explained that this Court could review

his Confrontation Clause claim de novo to avoid a fundamental miscarriage of justice. ECF No. 73

at 71–76. In support thereof, Mr. Cruz-Garcia pointed to new evidence not presented at trial, in

light of which “it is more likely than not that no reasonable juror would have convicted him.” Schlup

v. Delo, 513 U.S. 298, 327 (1998).

        The Director contends that Mr. Cruz-Garcia cannot meet the miscarriage of justice standard

because “his complaint is centered on his inability to present the Bromich [sic] report at trial, as well

as an amended DNA report[, and] neither of these constitute new evidence.” ECF No. 85 at 45. The

Director appears to be arguing that the procedural default of Mr. Cruz-Garcia’s Confrontation




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Clause claim cannot be excused to avoid a miscarriage of justice because the Confrontation Clause

claim itself is not based on new evidence. 14

        But a petitioner is not required to show that the defaulted claim itself or the evidence in

support thereof establishes a miscarriage of justice. Where a petitioner shows that it is more likely

than not that he is innocent of the offense, a court may review any constitutional error alleged to

have infected petitioner’s trial. See House v. Bell, 547 U.S. 518, 537 (2006) (“[A] petition supported

by a convincing Schlup gateway showing ‘raise[s] sufficient doubt about [the petitioner’s] guilt to

undermine confidence in the result of the trial without the assurance that that trial was untainted

by constitutional error’; hence, ‘a review of the merits of the constitutional claims’ is justified.”

(quoting Schlup, 513 U.S. at 317)). Here, therefore, this Court may review Mr. Cruz-Garcia’s

defaulted Confrontation Clause claim to avoid a miscarriage of justice.

        To the extent that “his complaint” in the Director’s argument does refer to Mr. Cruz-Garcia’s

much broader challenge to the State’s case on guilt and in support of a miscarriage of justice

exception, the Director’s arguments miss the mark. Contrary to the Director’s assertion, Mr. Cruz-

Garcia’s miscarriage of justice arguments do not rely on the Bromwich report. See ECF No. 73 at 71–

72. And it is unclear how the 2015 DNA report, published after trial and after Mr. Cruz-Garcia’s

initial writ, would not constitute “new evidence.” See ECF No. 85 at 45. The Supreme Court has

defined new evidence for purposes of Schlup as evidence “that was not presented at trial.” House, 547

U.S. at 537 (quoting Schlup, 513 U.S. at 324). Obviously, the 2015 DNA report that was released

after trial was not presented to the jury and thus constitutes new evidence under Schlup.


14
  It is unclear whether “his complaint” refers to the Confrontation Clause claim itself, which does center on the
Bromwich report but not the 2015 DNA report, or to Mr. Cruz-Garcia’s separate arguments on miscarriage of justice,
which rely on the 2015 DNA report but not the Bromwich report. See ECF No. 73 at 71–72.


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       The Director also argues that Mr. Cruz-Garcia’s reliance on the amended DNA evidence is

futile because “the DNA evidence does not exonerate him.” ECF No. 85 at 45. Schlup makes clear,

however, that a petitioner is not required to show that the new evidence upon which he now relies

“unquestionably establishes [his] innocence.” 513 U.S. at 317. A petitioner is required only to show

that “it is more likely than not that no reasonable juror would have convicted him in the light of the

new evidence.” Id. at 327. As argued by Mr. Cruz-Garcia, the DNA evidence as corrected does not

establish Mr. Cruz-Garcia’s identity as Ms. Garcia’s assailant, does not exclude Mr. Santana as a

potential assailant, and leaves open the possibility of an unknown assailant. ECF No. 73 at 71–76.

       This possibility further answers the rhetorical question posed by the State in closing:

       Ladies and gentlemen, if Obel Cruz-Garcia was not the one, if his DNA was there
       from some consensual sexual encounter that they made up out of whole cloth – and
       there is no evidence of that – where is the DNA of the guy who raped Diana? Where
       is it? Why don't we have it? If at some unknown time Obel Cruz-Garcia had a
       consensual relationship with Diana, again, that there is no evidence of, where is the
       DNA of the guy who raped her? She told you he ejaculated. And I don't mean to be
       graphic, but she told you she felt it running down her legs. Where is his DNA?
23 RR 82–-83. As the State now concedes, Mr. Cruz-Garcia cannot be linked to the DNA from the

vaginal swabs and Mr. Rodriguez cannot be linked to either the vaginal swabs or the underwear

cutting. ECF No. 18-11. Thus, as corrected by the 2015 report, the DNA evidence does not preclude

the possibility that the presence of Mr. Cruz-Garcia’s DNA on the underwear cutting was the result

of a consensual encounter.

       Moreover, Mr. Cruz-Garcia did not rely only on the 2015 DNA report to show a miscarriage

of justice, but further pointed to other new evidence not presented to the jury. This includes the

State’s beneficial post-trial conduct towards Mr. Santana and Ms. Rodriguez, as well as new evidence

that Mr. Cruz-Garcia was engaged in an ongoing, consensual sexual relationship with Diana Garcia


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at the time of the offense. ECF No. 73 at 73–76. With regards to the State’s favorable post-trial

conduct, the Director only refers this Court to his arguments on the merits of Mr. Cruz-Garcia’s

false testimony claim as to both witnesses. ECF No. 85 at 46. As argued below, Claims Five and Six,

Mr. Cruz-Garcia can show that Mr. Santana and Ms. Rodriguez received a benefit in exchange for

their testimony. And, as to evidence of a consensual sexual relationship, the Director does not

confront Mr. Cruz-Garcia’s evidence or arguments at all. See id. Because Mr. Cruz-Garcia can show

that “it is more likely than not that no reasonable juror would have convicted him in light of the

new evidence,” this Court can review Mr. Cruz-Garcia’s Confrontation Clause claim de novo. Schlup,

513 U.S. at 327.

                           2. Violation of the right to confront witnesses.

         The Director argues that Mr. Cruz-Garcia’s Confrontation Clause claim fails because he

cannot show “any relation between the HPD crime lab” and the DNA evidence introduced by the

State. ECF No. 85 at 48. That argument, however, ignores that the trial court made findings of fact

connecting the now-defunct HPD Crime Lab and its disgraced employees to the DNA evidence that

the State relied upon to convict Mr. Cruz-Garcia. ECF No. 73 at 63–64. The trial court itself

acknowledged that the reliability of the DNA evidence was likely a pertinent and critical line of cross-

examination. 17 RR 19–21. But Mr. Cruz-Garcia’s hands were tied, having been prohibited from

introducing documentary evidence or witness testimony regarding the HPD Crime Lab and

prohibited from cross-examining any witnesses on this excluded evidence. 15




15
  The Director argues that Mr. Cruz-Garcia cannot show how he could have brought in any of the evidence upon which
he would have cross-examined the State’s witnesses. ECF No. 85 at 47–48. That is precisely the heart of his claim—that
the trial court’s rulings “effectively disabled” Mr. Cruz-Garcia’s defense. ECF No. 73 at 67 (quoting Crane v. Kentucky,
467 U.S. 683, 689 (1986)).

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                   B. Right to present a complete defense.

                       1. Violation of the right to present a complete defense.

        The Director argues that, because the trial court’s exclusion of any evidence going to the

reliability of the DNA evidence was based on “non-arbitrary rules of evidence,” Mr. Cruz-Garcia

“fails to demonstrate that the CCA’s determination related to the trial court’s ruling violated a

specific federal constitutional right or rendered [his] trial fundamentally unfair.” ECF No. 85 at 51

(citing Gochicoa v. Johnson, 118 F.3d 440, 446 (5th Cir. 1997)). This argument misses the mark. Mr.

Cruz-Garcia certainly did allege a constitutional violation, ECF. No. 73 at 65–68, but the Director’s

response appears to focus on the state law evidentiary ruling and fails to engage in the constitutional

analysis.

        First, reliance on a “non-arbitrary” rule of evidence does not immunize a trial court’s

evidentiary rulings against constitutional scrutiny. ECF No. 85 at 51. The application of an otherwise

valid evidentiary rule may nevertheless violate a defendant’s constitutional rights. See Chambers v.

Mississippi, 410 U.S. 284 (1973). In Gochicoa, the Fifth Circuit confronted whether the trial court’s

application of the hearsay rule—an otherwise valid and non-arbitrary evidentiary rule—violated the

defendant’s rights under the Confrontation Clause. 118 F.3d at 446–48. Hence, that the state

evidentiary rules on which the trial court relied to exclude the evidence may be valid in the general

sense does not automatically defeat Mr. Cruz-Garcia’s claim.

        Second, the Director does not address whether the trial court’s application of an otherwise

valid rule to exclude this evidence of the unreliability of the DNA evidence deprived Mr. Cruz-Garcia

of a “meaningful opportunity to present a complete defense,” in violation of the Sixth and

Fourteenth Amendments. United States v. Scheffer, 523 U.S. 303, 329 n.16 (1998). In the State’s own

words in closing argument, however, the DNA evidence was “the most damning ” evidence against

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Mr. Cruz-Garcia. 23 RR 36. Evidence going to its unreliability was therefore critical to Mr. Cruz-

Garcia’s defense. ECF No. 73 at 66–68. As set out in Mr. Cruz-Garcia’s Second Amended Petition,

the trial court’s ruling that he could not introduce evidence going to the unreliability of that DNA

evidence “effectively disabled” Mr. Cruz-Garcia’s defense. Crane, 476 U.S. at 689.

                            2. This Court can review Mr. Cruz-Garcia’s right to present a complete
                               defense claim de novo.

         The Director makes two arguments in response to Mr. Cruz-Garcia’s showing that this Court

can review this claim de novo because the CCA failed to adjudicate it on the merits on direct appeal.

ECF No. 73 at 69–71. Critically, the Director never expressly asserts that the CCA did adjudicate

Mr. Cruz-Garcia’s claim on the merits, although this appears to be the intent of the Director’s

briefing. See ECF No. 85 at 51–52. First, the Director states that Mr. Cruz-Garcia “ignores the []

analysis under Gochicoa.” ECF No. 85 at 51. The Director offers no further argument and it is

unclear how Gochicoa impacts Mr. Cruz-Garcia’s argument that this Court can review his complete-

defense claim. Certainly, the CCA never cited to Gochicoa. 16 See Cruz-Garcia v. State, 2015 WL

6528727 (Tex. Crim. App. 2015).

         Second, the Director quotes language from Lucio v. Lumpkin that “[t]he Supreme Court has

repeatedly explained that a state court need not cite any legal principle at all.” ECF No. 85 at 51

(quoting 987 F.3d 451, 483 (5th Cir. 2021)). But that quote is from the section of the Fifth Circuit’s



16
  Presumably “the [] analysis” refers to language from Gochicoa previously quoted by the Director: “[A] federal court may
grant habeas relief based on an erroneous state court evidentiary ruling only if the ruling also violates a specific federal
constitutional right or renders the petitioner’s trial fundamentally unfair.” ECF No. 85 at 49 (quoting Gochicoa, 118
F.3d at 446). To the extent the Director’s reliance on this language is intended to support an argument that the CCA
could not have found a constitutional violation based on the trial court’s ruling, that argument misses the mark. On
direct appeal, the CCA never even addressed the constitutional dimension of Mr. Cruz-Garcia’s complete defense claim.
See ECF No. 73 at 69–71. That the Director believes Mr. Cruz-Garcia would ultimately have been unsuccessful on his
constitutional claim is irrelevant to the inquiry here, namely whether the CCA ever adjudicated Mr. Cruz-Garcia’s
constitutional claim.

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opinion on whether Ms. Lucio had shown that the state court’s merits adjudication of her claim was

contrary to clearly established federal law and thus met 28 U.S.C. § 2254(d). Lucio, 987 F.3d at 483.

This principle from Lucio relied on by the Director thus applies to an entirely different inquiry than

that at issue here, namely whether the state court adjudicated the claim on the merits at all.

         As set out in Mr. Cruz-Garcia’s Second Amended Petition, the CCA did not adjudicate the

merits of his complete defense claim under the federal Constitution. ECF No. 73 at 69–71. Where

a petitioner fairly raised a federal constitutional claim before the state court, the federal court must

presume that the state court adjudicated the petitioner’s claim on the merits. Johnson v. Williams, 568

U.S. 289, 300–01 (2013). This presumption applies even where the state court opinion is entirely

silent as to the petitioner’s federal constitutional claim. Id. Nevertheless, the Supreme Court in

Johnson rejected an argument that this presumption should be irrebuttable and described various

circumstances which may permit a petitioner to rebut this presumption. Id. at 301–02. Those

circumstances exist here. Mr. Cruz-Garcia fairly raised a complete defense claim under the federal

Constitution. The CCA, however, resolved it based on a state law standard that is both “less

protective” than and “quite different from” the federal standard. 17 And any reference by the CCA

to the federal standard was “simply mentioned in a footnote” underneath an entirely separate claim.

ECF No. 73 at 70–71 (citing Johnson, 568 U.S. at 301). This Court can therefore review Mr. Cruz-

Garcia’s claim de novo.




17
  Indeed, as quoted by the Director, the CCA found no error in the exclusion of the evidence at issue because it “did
not comprise the entire substance of [Cruz-Garcia’s] defense.” ECF No. 85 at 49 (quoting Cruz-Garcia, 2015 WL
6528727, at *14). By contrast, under Supreme Court precedent, a violation of the right to present a complete defense
arises where a defendant is deprived of a “meaningful opportunity to present a complete defense.” Scheffer, 523 U.S. at
329 n.16.

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        In the alternative, if this Court determines that Mr. Cruz-Garcia’s complete defense claim

was adjudicated on the merits, he can meet the relitigation bar under 28 U.S.C. § 2254(d)(1). The

CCA’s adjudication of this claim resulted in a decision that was contrary to, or involved an

unreasonable application of Holmes v. South Carolina, 547 U.S. 319 (2006) and Crane v. Kentucky,

476 U.S. 683 (1986). As argued on the merits of this claim, the trial court violated Mr. Cruz-Garcia’s

right to present a complete defense by preventing him from challenging the reliability of the DNA

evidence.

                   Mr. Cruz-Garcia is entitled to relief on the merits of his inaccurate and
                   unreliable DNA evidence claim

        As set forth in Claim Three of Mr. Cruz-Garcia’s Second Amended Petition, Mr. Cruz-

Garcia’s conviction and death sentence must be vacated under Johnson v. Mississippi, 486 U.S. 578,

590 (1988), because the State’s inaccurate and unreliable DNA evidence violates the Eighth

Amendment’s requirement of heightened reliability in death penalty cases. ECF No. 73 at 76–79.

In response, the Director asserts that “Johnson simply does not apply to this claim” because it “alleg[es]

inaccurate testimony at the guilt-innocence stage.” ECF No. 85 at 53. In support, the Director quotes

a passage from Hernandez v. Johnson, 213 F.3d 243, 252 (5th Cir. 2000), stating that most Johnson

cases do not involve “purportedly materially inaccurate testimony” but rather concern “a materially

inaccurate criminal conviction” offered as aggravating evidence at the punishment phase. ECF No.

85 at 53–54.

        Hernandez, however, does not hold that false or unreliable testimony at the guilt stage does

not implicate the Eighth Amendment. Rather, that case provides a roadmap for how federal courts

assess a Johnson claim predicated on false testimony. Immediately after the passage quoted by the

Director, the Hernandez opinion continues:

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         Notwithstanding the difference, Hernandez must still establish that Grigson’s and
         Erdmann’s 18 testimonies were false and material. See Fuller v. Johnson, 114 F.3d 491,
         497 (5th Cir. 1997) (holding that habeas prisoner’s Eighth Amendment claim failed
         because he had not adequately shown that Erdmann’s testimony was false or
         material).

         Although neither the Supreme Court nor this circuit has defined “materially” in the
         context of an Eighth Amendment violation under Johnson, the Supreme Court has
         had occasion to elaborate on materiality in the analogous context of the
         government’s suppression of material evidence under Brady v. Maryland, 373 U.S. 83,
         83 S. Ct. 1194, 10 L.Ed.2d 215 (1963). See Kyles v. Whitley, 514, U.S. 419, 115 S. Ct.
         1555, 131 L.Ed.2d 490 (1995). In Kyles, it noted that the touchstone of materiality
         is a “reasonable probability” of a different result. See id. at 434, 115 S. Ct. at 1566;
         United States v. O’Keefe, 128 F.3d 885, 894 (5th Cir. 1997). Under such a standard,
         Hernandez must show that Grigson’s and Erdmann’s testimonies undermined
         confidence in the outcome of the trial. See Kyles, 514 U.S. at 434, 115 S. Ct. at 1566;
         see also O’Keefe, 128 F.3d at 894 (“Materiality, stated another way, occurs when the
         falsehood results in a ‘corruption of the truth seeking function of the trial process.’”)
         (quoting United States v. Agurs, 427 U.S. 97, 104, 96 S. Ct. 2392, 2397, 49, L.Ed.2d
         342 (1976)).

         With those pronouncements in mind, we address the allegations about Grigson and
         Erdmann in turn.

Id. at 252–53. Under Hernandez, therefore, to evaluate a Johnson-based Eighth Amendment claim,

the court looks to whether, but for the false or unreliable evidence, there is a “reasonable probability”

of a different result. Id.

         Other Fifth Circuit cases have taken a similar approach to Johnson claims predicated on false

testimony at the guilt phase. For example, in Knox v. Johnson, 224 F.3d 470, 478 (5th Cir. 2000), the

petitioner argued that his conviction and death sentence violated the Eighth Amendment’s

heightened reliability requirement under Johnson because a witness testified falsely at the guilt phase.

The Fifth Circuit held that the claim lacked merit, not because it concerned guilt-phase testimony,




18
  Erdmann appears to have been a guilt-phase witness. See id. at 254 (noting that Erdmann testified that he examined
the victim’s heart and concluded that the victim did not die of a heart attack).

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but because it “defer[ed] to the state court’s determination that [the witness] did not testify falsely.”

Id. Similarly, in Kelly v. Cockrell, 72 F. Appx. 67, 75–76 (5th Cir. 2003), the Fifth Circuit addressed

a Johnson-based Eighth Amendment claim predicated on false guilt-phase testimony by analyzing

record evidence in detail to determine whether petitioner had shown that testimony was false. The

Fifth Circuit took the same approach in Hafdahl v. Johnson, 251 F.3d 528, 534 (5th Cir. 2001). Citing

Johnson, the court noted the petitioner’s argument that the false testimony of a guilt phase witness

“constitutes a violation of the Eighth Amendment’s prohibition on cruel and unusual punishment.”

Id. The court resolved the claim as follows: “Because we have determined that Hafdahl has failed to

show that Erdmann testified falsely, we find Hafdahl’s Eighth Amendment claim to be without

merit.” Id.

        Here, as set forth in Mr. Cruz-Garcia’s Second Amended Petition, the false and unreliable

DNA evidence formed a substantial part of the State’s case. The evidence “undermined confidence

in the outcome of the trial” and there is a “reasonable probability” the result would have been

different but for the false testimony concerning the DNA analysis. Hernandez, 213 F.3d at 253

(quoting Kyles, 514 U.S. at 434).

        The Director asserts that this claim is procedurally defaulted and that Mr. Cruz-Garcia

cannot overcome the procedural default through the miscarriage-of-justice exception. ECF No. 85

at 52–53. For the reasons set forth in Claim Two Section A, the Director is mistaken. The Director

also asserts that Mr. Cruz-Garcia cannot overcome the procedural default by showing cause and

prejudice because he “clearly had the opportunity to raise these claims in his first state writ.” ECF

No. 85 at 53. The Director ignores, however, that the State did not reanalyze the DNA evidence and

conclude that it was false until after Mr. Cruz-Garcia filed his first writ. See ECF No. 18-11.


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                   Mr. Cruz-Garcia is entitled to relief on the merits of his ineffective assistance of
                   counsel claim.

        As set forth in his Second Amended Petition, Mr. Cruz-Garcia raised a single, unitary

ineffective assistance of trial counsel (“IATC”) claim, which the CCA procedurally defaulted when

Mr. Cruz-Garcia presented the claim in his second subsequent application for post-conviction relief.

ECF No. 73 at 79–215. Because Mr. Cruz-Garcia’s state habeas counsel were ineffective, Mr. Cruz-

Garcia can overcome the procedural default through the exception recognized in Martinez v. Ryan,

566 U.S. 1 (2012). See ECF No. 73 at 211–15. And because Mr. Cruz-Garcia relies on evidence he

included with his second subsequent state habeas application, the Supreme Court’s recent decision

in Shinn v. Martinez Ramirez, 142 S. Ct. 1718 (2022) does not preclude the Court from considering

that evidence. See, supra, Section I B.

                   A. The Director improperly attempts to claim-split.

        The Director does not address Mr. Cruz-Garcia’s unitary IATC claim. Instead, the Director

divides the IATC Claim into almost two dozen discrete subparts, asserting that each one does not

individually entitle Mr. Cruz-Garcia to relief. The Court should reject the Director’s claim-splitting

approach. See Williams v. Taylor, 562 U.S. 362, 396 (2000) (finding deficient performance based on

multiple omissions by counsel and finding prejudice because “the entire post-conviction record,

viewed as a whole” raised a reasonable probability of a different result). Mr. Cruz-Garcia can

overcome the procedural default of this claim based on Martinez v. Ryan and relief is warranted. See

ECF No. 73 at 211–15.

        To the extent the Court does split Mr. Cruz-Garcia’s unitary IATC claim or finds that Mr.

Cruz-Garcia cannot overcome the procedural default on that claim, the Court should still grant relief

on the claim for two reasons. First, for the reasons set forth in the Second Amended Petition, the


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Court should review the subpartss Mr. Cruz-Garcia raised in his initial state habeas application de

novo because the state habeas process failed to comply with basic due process requirements. ECF No.

73 at 37–45. The Director’s responsive arguments on this point should not persuade the Court. See,

supra, Section I B. Second, Mr. Cruz-Garcia can meet the relitigation bar under 28 U.S.C. § 2254(d)

as to the sections of the IATC claim the Director contends are not procedurally defaulted and Mr.

Cruz-Garcia is entitled to relief on those allegations.

                   B. The Director contends that the bulk of the IATC claim is subject to
                      §2254(d).

        The Director asserts that the bulk of the IATC claim is “properly exhausted” and therefore

subject to § 2254(d). ECF No. 85 at 147–62. The Director states that Mr. Cruz-Garcia cannot meet

the relitigation bar as to these allegations because the state court’s rejection of this portion of the

IATC claim was not “an unreasonable application of, or contrary to, federal law, or based on an

unreasonable determination of the facts.” Id. at 147. Except with respect to the punishment-phase

sections of the IATC claim, however, the Director makes no arguments in support of this assertion.

Id. at 147–48. The Director does not discuss any fact-finding or legal conclusions by the convicting

court, nor make any arguments in support of the supposed reasonableness of the CCA’s

adjudication of these allegations. Instead, the Director refers this Court to his briefing on other,

related claims. Id. at 147–48. But these arguments on other claims do not address whether counsel’s

performance was deficient and whether Mr. Cruz-Garcia was thus prejudiced. Tellingly, the Director

makes no effort to defend trial counsel’s performance or the state court’s factual findings with

respect to the allegations he does not separately brief. As set forth below, the trial court’s findings

were legally and factually unreasonable and were clearly contradicted by the record before it. Mr.




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Cruz-Garcia addresses the Director’s arguments on the punishment phase IATC allegations

separately below.

                       1. The sections pertaining to guilt phase ineffectiveness that the Director
                          contends are not procedurally defaulted meet §§ 2254(d)(1) or (d)(2)
                          or both.

       Under § 2254(d), a federal habeas court defers to a state court adjudication on the merits of

a claim unless the state court decision was “(1) ‘contrary to, or involved an unreasonable application

of clearly established Federal law, as determined by the Supreme Court of the United States’; or (2)

‘resulted in a decision that was based on an unreasonable determination of the facts in light of the

evidence presented in the State court proceeding.’” Gray v. Epps, 616 F.3d 436, 439 (5th Cir. 2010)

(quoting §§ 2254(d)(1) and (d)(2)). Only one exception to the relitigation bar need be present.

Where the relitigation bar is met, a federal court may review the merits de novo and based on all

evidence put forth by the petitioner. See Brumfield v. Cain, 576 U.S. 305, 311 (2015).

       As set forth below, the portion of the IATC claim the Director contends was “properly

exhausted” satisfies either § 2254(d)(1) (an unreasonable application of clearly established federal

law) or (d)(2) (an unreasonable determination of the facts), or both.

       Under clearly established federal law, Mr. Cruz-Garcia’s claim of ineffective assistance of

counsel is governed by the two-part test in Strickland v. Washington, 466 U.S. 668 (1984). To succeed

on a claim of ineffective assistance of counsel, a petitioner must show that (1) counsel was deficient

and (2) petitioner was thus prejudiced. Id. at 687. To establish deficient performance, a petitioner

must show that “counsel’s representation fell below an objective standard of reasonableness.” Id. at

688. This inquiry requires a reviewing court to ask “whether counsel’s assistance was reasonable

considering all the circumstances.” Id. The ABA Guidelines and Texas Guidelines “are guides to



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determining what is reasonable.” Id.; see Wiggins v. Smith, 539 U.S. 510, 524 (2003) (finding deficient

performance where, inter alia, “[c]ounsel’s performance fell short of the standards for capital defense

work articulated by the [ABA] standards”). To establish prejudice, a petitioner must show “a

reasonable probability that, but for counsel’s unprofessional errors, the result of the proceeding

would have been different.” Id. at 694.

        In state habeas, the CCA held that trial counsel were not ineffective and Mr. Cruz-Garcia

was not prejudiced. Ex parte Cruz-Garcia, 2017 WL 4947132, at *2. This decision, however, involved

an unreasonable application of Strickland v. Washington and its progeny and involved an

unreasonable determination of the facts in light of the state court record. Mr. Cruz-Garcia can

therefore meet the relitigation bar, whether under §§ 2254(d)(1) and/or (d)(2), and this Court can

review these allegations de novo.

                         i.    Trial counsel failed to investigate the State’s DNA evidence.

        This allegation corresponds to Section 4(F)(1) in Mr. Cruz-Garcia’s petition. ECF No. 73 at

132–39. The Director refers this Court back to his argument in response to Mr. Cruz-Garcia’s Claim

Five. ECF No. 85 at 147. Mr. Cruz-Garcia responds to those arguments under Claim Five herein.

The Director makes no arguments that the state court’s adjudication of this claim was reasonable

under §§ 2254(d)(1) or (d)(2). Mr. Cruz-Garcia adds the following arguments regarding § 2254(d).

        As set out in Mr. Cruz-Garcia’s Second Amended Petition, trial counsel failed to even consult

with a DNA expert and failed to reasonably investigate the State’s DNA evidence. ECF No. 73 at

132–39. The state court nevertheless concluded that trial counsel “made a reasonable trial strategy

decision regarding whether to retain a DNA expert.” 5 SHCR 1050. This was an unreasonable

application of Strickland, and it was based on an unreasonable determination of the facts.



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        With respect to the factual determinations, the state court cut and pasted Mr. Cornelius’s

conclusory, self-serving statement that he “knows a lot about DNA.” 5 SHCR 1050; 4 SHCR 944.

The court also found that “Cornelius thoroughly reviewed the DNA evidence in the applicant’s

case.” 5 SHCR 1050. However, the trial transcript itself makes clear that was not the case. Mr.

Cornelius stated on the record that he was “not going to go through 20 boxes of DNA records” from

the State’s file. 20 RR 186–87. And Mr. Cornelius’s affidavit also does not reflect that he reviewed

the State’s entire file. Instead, in his affidavit, he states only that “the files where [sic] brought to

court by a number of prosecutors who worked, at various times, on the case,” and does not say that

he reviewed the “20 boxes of DNA records” that were in the prosecutor’s office. 4 SHCR 945; 20

RR 86–87. Beyond that, Mr. Cornelius states only that he believes the State “provided” him with

everything he thinks he was entitled to. Id. Nowhere, does Mr. Cornelius suggest that he actually

went to the prosecutor’s office to review the complete file. Indeed, when that possibility was suggested

to Mr. Cornelius, he responded that he “do[es not] play that game.” 3 SHCR 607.

        The state court also found that trial counsel “made the best record and argument he could

to suppress” the DNA evidence. 5 SHCR 1050. This finding, however, contradicts the trial court’s

ruling that it would not grant the defense’s motion to suppress because trial counsel failed to connect

the serious problems at the HPD crime lab to the specific evidence in this case. 17 RR 12.

        The state court likewise does not acknowledge that, prior to the State’s recantation of the

DNA evidence, Dr. Daniel Hellwig identified analytical flaws in the State’s false DNA evidence and

testified that those flaws should have been apparent at the time of trial. ECF No. 18-10. Indeed,

besides mimicking Cornelius’s conclusory assertion that he “knows a lot about DNA,” the state court

does not identify any reason why trial counsel should not have at least consulted with a DNA expert.



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Cornelius himself conceded “I do not hold myself out to be a DNA expert.” 4 SHCR 944. The state

court’s adjudication was therefore based on an unreasonable determination of fact under

§ 2254(d)(2).

        The state court’s adjudication that trial counsel were not deficient in failing to investigate

the State’s DNA evidence was also an unreasonable application of clearly established federal law.

Under Strickland, trial counsel have a duty to investigate the State’s evidence. Anderson v. Johnson, 338

F.3d 382, 391 (5th Cir. 2003) (holding that the state court unreasonably applied Strickland in finding

that trial counsel was not ineffective for failing to investigate State’s main witness). “[S]trategic

choices made after less than complete investigation are reasonable precisely to the extent that

reasonable professional judgments support the limitations on investigation.” Strickland, 466 U.S. at

690–91. “In short, ‘counsel has a duty to make reasonable investigations or to make a reasonable

decision that makes particular investigations unnecessary.’” Anderson, 448 F.3d at 391 (quoting

Strickland, 466 U.S. at 691).

        Here, trial counsel failed in their duty to conduct a complete investigation when they did

not retain a DNA expert. Indeed, without at least consulting with a DNA expert, they could not have

made a reasonable determination that it was not necessary to retain one, whether for purposes of

presenting expert testimony, assisting with the defense’s cross-examination of the State’s witnesses,

or simply reviewing and understanding the State’s DNA evidence. Trial counsel’s failure to consult

with a DNA expert was also a violation of the applicable guidelines, something the Director does

not dispute. ECF No. 85 at 149–50. The state court’s determination that trial counsel “made a

reasonable trial strategy decision regarding whether to retain a DNA expert,” 5 SHCR 1050, was

therefore an unreasonable application of clearly established federal law. Elmore v. Ozmint, 661 F.3d


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783, 858 (4th Cir. 2011) (state court was unreasonable in concluding that trial counsel’s failure to

investigate forensic evidence was not deficient performance); Leonard v. Michigan, 256 F. Supp. 2d

723, 731 (W.D. Mich. 2003) (state court was unreasonable in concluding that trial counsel’s did not

perform deficiently by failing to retain a DNA expert, even though trial counsel had a degree in

chemistry).

                        ii.    Trial counsel failed to preserve a Confrontation Clause challenge
                               to the trial court’s preclusion of defense cross-examination about
                               the old HPD Crime Lab.

       This allegation corresponds to Section 4(F)(2) in Mr. Cruz-Garcia’s petition. ECF No. 73 at

140–41. The Director refers this Court back to his argument in response to Mr. Cruz-Garcia’s Claim

Two (Mr. Cruz-Garcia’s right to present a defense and cross-examine witnesses was violated when

the trial court refused to allow him to present evidence relating to the unreliability of the DNA

evidence). ECF No. 85 at 147. Mr. Cruz-Garcia responds to those arguments under Claim Two

herein. The Director makes no arguments that the state court’s adjudication of this claim was

reasonable under §§ 2254(d)(1) or (d)(2). Mr. Cruz-Garcia adds the following arguments regarding

§ 2254(d).

       As discussed in the Second Amended Petition, the trial court violated Mr. Cruz-Garcia’s

Confrontation Clause rights by prohibiting the defense from cross-examining the State’s witnesses

concerning the old HPD Crime Lab. ECF No. 73 at 57–69. Trial counsel’s failure to raise a

meritorious objection fell below an objective standard of reasonableness. This is not a case where

trial counsel elected not to object for strategic reasons; trial counsel did contest the trial court’s

ruling on state law grounds.

       Rather, trial counsel appears to have been either unaware of or seriously misunderstood the

Sixth Amendment implications of the trial court’s decision. See 18 RR 11 (statement by trial counsel
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suggesting that Sixth Amendment did not apply because “the State doesn’t have a Sixth Amendment

right”). It likewise appears that trial counsel did not conduct any legal research on the issue. 18 RR

10–11 (trial court noting the State provided case law in support of their position, that “I didn’t get

anything from you guys,” and asking defense counsel if they “have anything else you want me to

consider . . . [a]ny case law or anything,” to which trial counsel responds “[n]o”). Under clearly

established federal law, being mistaken as to the governing law clearly constitutes deficient

performance. Hinton v. Alabama, 571 U.S. 263, 274 (2014). In short, trial counsel simply failed to

raise the corresponding federal constitutional basis for their objection, not through any strategic

decision, but because they did not know or understand the governing law.

                       iii.   Trial counsel failed to investigate critical witnesses and law
                              enforcement’s theory of the offense.

       This allegation corresponds to Sections 4(F)(3) through 4(F)(6) in Mr. Cruz-Garcia’s petition.

ECF No. 73 at 142–56. Regarding these multiple allegations, the Director refers this Court back to

his argument in response to Mr. Cruz-Garcia’s Five (The State relied on false testimony, in violation

of the Fourteenth Amendment). ECF No. 85 at 147. Mr. Cruz-Garcia responds to those arguments

under Claim Five herein. The Director makes no arguments that the state court’s adjudication of

this claim was reasonable under §§ 2254(d)(1) or (d)(2). Mr. Cruz-Garcia adds the following

arguments regarding § 2254(d).

       Notably, the Director’s reference back to his argument on the merits of the false testimony

claim are non-responsive with regards to Mr. Cruz-Garcia’s claim that trial counsel were deficient

for failing to investigate Mr. Santana’s crime of moral turpitude. The Director does not, and cannot,

contest that Mr. Santana lied on the stand about the gender of the victim of his prior conviction.




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See ECF No. 85 at 59–60. In other words, it is not disputed that Mr. Santana lied on the stand and

trial counsel failed to uncover that falsehood.

        The trial record further makes clear that the failure to investigate and impeach Mr. Santana

did not result from trial strategy. Trial counsel clearly intended to impeach Mr. Santana with his

child-assault conviction, provided that the victim was a girl. 21 RR 17–18. Trial counsel admitted

on the record they had not performed a complete investigation of the issue, and so would simply

accept whatever Mr. Santana testified to. Id. This was an incomplete investigation that was not based

on any strategic consideration, which under clearly established federal law is ineffective assistance of

counsel. Strickland, 466 U.S. at 691.

        Likewise, trial counsel’s failure to uncover Mr. Santana’s mental health issues constituted

deficient performance. Evidence of Mr. Santana’s mental health was available publicly via PACER

filings in Mr. Santana’s federal criminal case. ECF Nos. 18-12, 18-13, 18-14. Trial counsel did not

strategically determine that they did not need to investigate Mr. Santana’s criminal history. Rather,

their investigation was unreasonably insufficient. Under clearly established federal law, trial

counsel’s failure to investigate the State’s star witness constituted ineffective assistance of counsel.

Anderson, 338 F.3d at 391; Grant v. Lockett, 309 F.3d 224, 234 (3d Cir. 2013), abrogated on other

grounds, Dennis v. Sec., Penn. Dep’t Corrs., 834 F.3d 263 (3d Cir. 2016) (state court unreasonably

determined that trial counsel did not perform deficiently by failing to investigate star witnesses’

criminal history).

        At trial, the State presented argument and testimony that Diana Garcia and Arturo

Rodriguez stopped selling drugs before they were attacked and Angelo was taken. 18 RR 33, 133–

34, 204; 19 RR 33. Ms. Garcia’s and Mr. Rodriguez’s purported decision to stop selling drugs made


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them more sympathetic to the jury and supplied the State’s theory of Mr. Cruz-Garcia’s motive. 18

RR 33, 204; 23 RR 98. Police reports make clear, however, that Ms. Garcia and Mr. Rodriguez were

still selling drugs on the night of the offense. 19 ECF 18-24 at 1–2. As discussed in the Second Amended

Petition, trial counsel performed deficiently by failing to bring this to the jury’s attention.

           The trial court’s only finding on this point is a single sentence: “On cross-examination of

Diana Garcia and Arturo, trial counsel obtained admissions from both witnesses that they initially

lied about their involvement in drug dealing.” 5 SHCR 1053. But whether trial counsel brought out

that Ms. Garcia and Mr. Rodriguez initially lied to the police about whether they ever sold drugs does

not prove—or even suggest—that the trial counsel did not perform deficiently by failing to show that

Ms. Garcia and Mr. Rodriguez lied to the jury about whether they stopped selling drugs, thereby

somehow causing Mr. Cruz-Garcia to become upset with them. Similarly, there was no reasonable

basis to conclude that trial counsel did not perform deficiently in failing to present evidence that

Ms. Garcia and Mr. Rodriguez not only lied to police initially, but that the police never believed they

were fully forthcoming. ECF No. 73 at 154. There is also no reasonable basis for finding that trial

counsel were not deficient in presenting evidence that during the initial investigation, law

enforcement concluded that the cigar with Mr. Cruz-Garcia’s DNA was not linked to the offense. Id.

at 143–54.

           The state court’s conclusions concerning Cesar Rios, Jose Valdez, and Hector Saavedra were

likewise unreasonable, both legally and factually. With respect to its legal determination, the state

court repeatedly emphasized the statements in the defense teams affidavits suggesting that Mr. Cruz-

Garcia was uncooperative and invoked God in response to their questions. 5 SHCR 1051–52. The



19
     Ms. Garcia testified that she and Arturo only ever sold drugs for Mr. Cruz-Garcia. 18 RR 177.

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state court concluded that “[b]ecause applicant did not supply trial counsel with the names of Cesar

Rios or Cesar Mela Rios, Jose Valdez, or Hector Saavedra as potentially beneficial defense witnesses

and the defense was unable to locate Cesar Mala Rios, the applicant fails to demonstrate trial

counsels’ alleged ineffectiveness for not presenting them as witnesses.” 5 SHCR 1052. The state

court’s conclusion was an unreasonable application of clearly established federal law. See Porter v.

McCollum, 558 U.S. 30, 40 (2009) (client’s uncooperativeness does not relieve trial counsel of the

duty to investigate).

        With respect to factual determinations, it is undisputed that trial counsel did not need Mr.

Cruz-Garcia’s help in identifying Mr. Rios as an important witness. Police reports from 1992

described Mr. Rios as a known associate of Mr. Cruz-Garcia. See 5 SHCR 958. As a result, trial

counsel’s investigator knew that Mr. Rios was an important witness to interview. Although the state

court found that “the defense team’s efforts to contact Cesar Mala Rios were not successful,” the

court did so without acknowledging Mr. Rios’s own affidavit, which states that he recalls “talking to

one person on the defense team briefly,” but that the defense never followed up. 5 SHCR 1052; 2

SHCR 405.

        Under clearly established federal law, trial counsel also performed deficiently by failing to

undercut Angelita Rodriguez’s claim that Mr. Cruz-Garcia confessed to her. Ms. Rodriguez

dramatically testified that the first time she saw Mr. Cruz-Garcia after he left Houston was to ask

him for a divorce; that, in response, Mr. Cruz-Garcia threatened her family; and that he then

confessed to the crime. 20 RR 105. In reality, according to an FBI report, Ms. Rodriguez continued




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to live with Mr. Cruz-Garcia at her family’s house in the Dominican Republic. ECF No. 18-15. 20

There was no strategic reason for trial counsel not to investigate Ms. Rodriguez’s story. See Strickland,

466 U.S. at 491.

                           iv.    Trial counsel failed to investigate issues impacting jury
                                  deliberations

        This allegation corresponds to Sections 4(I) in Mr. Cruz-Garcia’s petition. ECF No. 73 at

142–56. With regards to this allegation, the Director refers this Court back to his argument in

response to Mr. Cruz-Garcia’s Claim Nine (Mr. Cruz-Garcia was not present during portions of his

trial, in violation of the Fifth, Sixth, Eighth, and Fourteenth Amendments). ECF No. 85 at 147. Mr.

Cruz-Garcia responds to those arguments under Claim Nine herein. The Director makes no

arguments that the state court’s adjudication of this claim was reasonable under §§ 2254(d)(1) or

(d)(2). Mr. Cruz-Garcia adds the following arguments regarding § 2254(d).

        The state court’s finding that trial counsel did not perform deficiently by failing to investigate

Michael Casaretto’s report of juror misconduct was an unreasonable application of clearly

established federal law. Trial counsel’s failure to interview Mr. Casaretto was not the product of a

strategic decision not to investigate. In fact, Mr. Cornelius himself concluded that he did need to

speak personally with Mr. Casaretto to ensure that the record reflected exactly what he had observed.

24 RR 5 (“MR. CORNELIUS: Let me write down his phone number so I can call him. . . . . Okay.

I will call him just to make sure and put whatever he tells me on the record.”).

        The state court completely failed to acknowledge this point. Instead, the state court

emphasized the differences between what Mr. Casaretto recalled in his affidavit and the court’s


20
  Mr. Cruz-Garcia mistakenly cites to this exhibit as 118-15 in his Second Amended Petition. The correct ECF No. is
18-15.


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description of what Mr. Casaretto reported. 5 SHCR at 1066–68. That, however, only underscores

trial counsel’s error in failing to “call him just to make sure and put whatever he tells me on the

record.” 24 RR 5. Had trial counsel done what Mr. Cornelius conceded they needed to do at the

time, trial counsel could have learned that Mr. Casaretto recalled the episode of juror misconduct

differently than the trial judge. Because trial counsel’s failure to investigate was not the result of a

reasonable strategic decision, the state court’s finding that trial counsel was not ineffective was legally

unreasonable. Strickland, 466 U.S. at 691.

        The state court’s conclusion that trial counsel did not perform deficiently in failing to object

to the trial court’s ex parte meeting with a holdout juror or insisting that she be questioned in open

court was legally and factually unreasonable. In his affidavit, Mr. Cornelius does not offer any

strategic reasons for failing to do so. He concedes that “[t]here is a huge difference between what we

knew at the time and what has been said after the verdict was rendered.” 4 SHCR 948. He then

states that he thought the ex parte meeting “was recorded and a part of the record and could be

reviewed on appeal if necessary.” Id. Believing that a transcript of the ex parte conference would be

available to appellate counsel, however, does not explain why trial counsel did not take adequate steps

to ensure they would know what Juror Bowman sought to speak with the trial judge about.

        Mr. Cornelius next states that he “trusted the Judge to do what she thought to be the

appropriate action in the situation.” 4 SHCR 948. Without having learned from Juror Bowman

what “the situation” was, Mr. Cornelius cannot have made a reasonable strategic decision that

whatever the trial court “thought to be the appropriate action” would adequately address it. Finally,

Mr. Cornelius states that he does “not now think the Judge did anything improper,” which obviously

does not explain his decision at the time. Id. (emphasis added). In short, trial counsel’s failure to


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object was not based on a reasonable strategic decision and therefore constituted ineffective

assistance under clearly established federal law. See Strickland, 466 U.S. at 691.

        The state court’s decision was also based on an unreasonable determination of the facts. The

state court’s decision turned on the following finding:

        The Court finds, based on the habeas record, that the applicant offers nothing to
        support his allegations that trial counsel, during the applicant’s habeas investigation,
        asserted that they were not told by the court that Bowman was a holdout vote and
        wanted to stop deliberating; that there was an informal conversation with the judge
        outside the courtroom during which counsel were informed that Bowman was having
        a hard time; and, that both counsel would have asked the court to end deliberations
        and enter a life sentence if they had known that Bowman was a holdout juror who
        desired to stop deliberations.

5 SHCR 1064. In support of this assertion, the state court notes only that “neither of trial counsels’

habeas affidavits contain the statements alleged by the application.” Id. The state court completely

ignored other record evidence, however, including emails from trial counsel containing precisely

“the statements alleged by the applicant.” 3 SHCR 607–12. The state court’s finding therefore was

an unreasonable factual determination under § 2254(d)(2).

                         v.    Trial counsel failed to recognize the significance of Mr. Cruz-
                               Garcia’s foreign nationality

        This allegation corresponds to Sections 4(K) in Mr. Cruz-Garcia’s petition. ECF No. 73 at

142–56. With regards to this allegation, the Director refers this Court back to his argument in

response to Mr. Cruz-Garcia’s Claim 16 (Violation of Vienna Convention on Consular Relations).

ECF No. 85 at 147. The Director makes no arguments that the state court’s adjudication of this

claim was reasonable under §§ 2254(d)(1) or (d)(2) Mr. Cruz-Garcia adds the following arguments

regarding § 2254(d).

        The state court unreasonably applied clearly established federal law in finding that trial

counsel were not ineffective for failing to seek consular assistance. The state court emphasizes the
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statements in trial counsels’ affidavits that Mr. Cruz-Garcia purportedly had “no interest” in

receiving consular assistance. 5 SHCR 1058. Even if trial counsel’s affidavits can be credited on this

point, it does not end the inquiry. Under Texas Guideline 10.6, counsel is required to “exercise his

or her best professional judgment under the circumstances” if the client’s consent cannot be

obtained. Neither trial counsel, nor the state court, ever explain why trial counsel’s “best professional

judgment” was to not seek consular assistance.

        Additionally, the state court unreasonably determined that consular assistance would not

have benefitted Mr. Cruz-Garcia because “the applicant was represented by skilled counsel who were

far more qualified to explain the Texas criminal justice system to the applicant than a representative

of the applicant’s consulate.” 5 SHCR 1058–59. As reflected in the affidavit submitted by Mr. Cruz-

Garcia from the Dominican consulate and from an expert on consular assistance, the benefit of

consular assistance is not to “explain the Texas criminal justice system,” but to assist in helping to

locate witnesses, documents, and information in the defendant’s home country. 1 SHCR 208; 2

SHCR 421. In that regard, “consular officials have been instrumental in obtaining mitigating

evidence from the national’s home country that has a decisive impact on the penalty phase,” which

is exactly the type of evidence that trial counsel failed to present in this case. 1 SHCR 208. Because

trial counsel did not adhere to the applicable guidelines and because the state court did not

reasonably consider the prejudice that resulted from the lack of consular assistance, the state court’s

finding that counsel were not ineffective was an unreasonable application of clearly established

federal law. See Wiggins, 539 U.S. at 524.




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                       2. Ineffective assistance of trial counsel at the punishment phase

       In state habeas, trial counsel were specifically ordered to address the failure to retain a

mitigation expert and the failure to investigate future dangerousness. 4 SHCR 945–47. Hence, this

Court need not imagine what trial counsel may or may not have considered.

                         i.   Unreasonable application of clearly established federal law on
                              deficient performance

                              a. Mitigation

       The CCA held that trial counsel were not deficient and Mr. Cruz-Garcia was not prejudiced

where trial counsel did not retain a mitigation specialist, presented a shotgun-style mitigation case

without any expert testimony, and did not investigate or attempt to rebut future dangerousness. Ex

parte Cruz-Garcia, 2017 WL 4947132, at *2. Mr. Cruz-Garcia can meet the relitigation bar under

§2254(d) as to the section of his IATC claim concerning the punishment phase because the CCA’s

adjudication involved an unreasonable application of clearly established federal law. That

adjudication was further impacted by unreasonable determinations of fact under § 2254(d)(2). This

Court can therefore review Mr. Cruz-Garcia’s claim of ineffective assistance of trial counsel at the

punishment phase de novo. Brumfield, 576 U.S. at 311.

       The CCA based its adjudication of punishment phase allegations of ineffectiveness on the

trial court’s only conclusion of law as to ineffectiveness at the punishment phase: that trial counsel

had not performed deficiently because “trial counsel filed a dozen pre-trial motions, hired an

investigator, obtained funds to send the investigator to the Dominican Republic to follow-up with

witnesses, hired a clinical psychologist, questioned potential jurors for eleven days, cross-examined

thirty-two witnesses, presented evidence of the applicant’s life history, and presented the testimony

of four defense witnesses.” See Ex parte Cruz-Garcia, 2017 WL 4947132, at *2. This conclusion did


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not acknowledge or confront the specific omissions by trial counsel alleged by Mr. Cruz-Garcia to

constitute ineffective assistance of counsel. The trial court’s findings of fact are likewise simply a

recitation of trial counsel’s conduct ahead of and during the punishment phase. 5 SHCR 1053–56.

        Under clearly established federal law, “[a] court deciding an actual ineffectiveness claim must

judge the reasonableness of counsel’s challenged conduct.” Strickland, 466 U.S. at 689. A reviewing

court may not assume the adequacy of trial counsel’s representation and must inquire whether

counsel’s acts and omissions “actually demonstrated reasonable professional judgment.” Wiggins,

539 U.S. at 527 (finding that the state court unreasonably applied clearly established federal law

when it failed to assess the reasonableness of trial counsel’s conduct). That trial counsel performed

some basic tasks in their representation of Mr. Cruz-Garcia, including basic tasks unrelated to the

punishment phase, does not answer the mandated inquiry under clearly established federal law as

to whether the conduct challenged by Mr. Cruz-Garcia was reasonable. The trial court’s adjudication,

which was adopted by the CCA, was therefore contrary to clearly established federal law.

        To the extent the CCA assessed the reasonableness of trial counsel’s conduct, its conclusion

that trial counsel were not deficient is an unreasonable application of clearly established federal law.

Based on the facts of Mr. Cruz-Garcia’s case and objectively viewed as of the time of counsel’s

conduct, trial counsel’s acts and omissions do not reflect the exercise of reasonable professional

judgment. See Wiggins, 539 U.S. at 523. Trial counsel did not retain a mitigation specialist;

conducted a rushed, ad hoc, and inadequate investigation; and presented a shotgun-style mitigation

case.

        The failure to retain a mitigation specialist cannot be credited as reasonable professional

judgment in a case where, by their own admission, trial counsel “felt [their] best shot at punishment



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was on mitigation.” 4 SHCR 946. Both the ABA and Texas Guidelines mandate that a mitigation

specialist should be retained, see ECF No. 73 at 159, and this was standard practice in Harris County

at the time of Mr. Cruz-Garcia’s trial. 21 Trial counsel touted that, in lieu of a mitigation specialist,

they persuaded the trial court to fund a psychologist up to $17,400 to “consult with on any matter

of mitigation.” 4 SHCR 947. But trial counsel did not consult with that psychologist, Dr. Rosin,

until a year after her appointment, and she then performed just seven hours of work in connection

with Mr. Cruz-Garcia’s case. ECF No. 18-7 at 21.

         Under clearly established federal law, trial counsel also have a “duty to make reasonable

investigations or to make a reasonable decision that makes particular investigation unnecessary.”

Strickland, 466 U.S. at 691. Here, trial counsel flouted that duty by failing to pursue critical lines of

mitigation investigation. Tellingly, trial counsel obtained funding to investigate in Puerto Rico,

where Mr. Cruz-Garcia had significant ties. But no member of the defense team ever traveled there.

This failure is all the more unreasonable considering Mr. Cruz-Garcia told trial counsel about his

assistance to federal law enforcement in Puerto Rico. See Strickland, 466 U.S. at 691.

         The Director argues that Mr. Cruz-Garcia does not dispute the trial court’s finding that that

investigator JJ Gradoni and interpreter Edna Velez traveled to the Dominican Republic, “where they

located and interviewed witnesses, took photographs, and obtained useful and important




21
  The Director argues that the fee affidavit from a mitigation specialist in Harris County from a case Mr. Cornelius was
appointed to and around the time of Mr. Cruz-Garcia’s trial does not refute trial counsel’s allegations that they could
not have retained a mitigation specialist due to funding cuts to indigent defense. ECF No. 85 at 154. Trial counsel’s
affidavit, however, stated that “[t]o my knowledge, all of the ‘mitigation experts’ in Harris County, of which there were
not many at that time, refused to take cases for the money the County was willing to pay[.]” The fee affidavit, from one
of Mr. Cornelius’ own cases, makes clear that was not the case. It also shows that it was standard practice at the time of
Mr. Cruz-Garcia’s trial for counsel in Harris County to retain a mitigation specialist in capital cases. See Wiggins, 539
U.S. at 524 (reasonableness of trial counsel’s actions assessed based on standard practice at time).



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information for trial counsel [] to use for mitigation purposes.” ECF No. 85 at 156–57 (quoting 5

SHCR 1055). This finding, however, underscores the unreasonableness of the scope of trial

counsel’s mitigation investigation. As this finding makes clear, they uncovered no evidence that

could have justified limiting their investigation of mitigation evidence, including by failing to

conduct any investigation in Puerto Rico. See Wiggins, 539 U.S. at 525 (counsel’s failure to pursue

mitigation investigation was not reasonable where, inter alia, they “uncovered no evidence in their

investigation to suggest that . . . further investigation would have been fruitless”).

         Likewise, this finding emphasizes the unreasonableness of trial counsel’s presentation of

mitigation evidence to the jury, which did not include any “useful and important information”

stemming from their truncated investigative efforts. Trial counsel presented the testimony of just

four witnesses, two of whom testified via shoddy video link because trial counsel failed to secure

their in-person testimony. 26 RR 11–2, 67–79. And the fourth witness was not identified by trial

counsel, but instead only testified after hearing about the trial on the news and taking it upon

himself to come to the courthouse to ask trial counsel to testify to the transformative impact of Mr.

Cruz-Garcia’s friendship. 26 RR 81. Tellingly, according to the jury foreperson, this latter testimony

was what stayed with the jury during their deliberations on punishment. 3 CR 625 (“[I]f it hadn’t

been for that kid, it would have been a much easier decision for me.”).

         The Director contends that trial counsel cannot be ineffective for presenting the testimony

of just four witnesses because they received “limited cooperation from their client[.]” 22 ECF No. 85

at 156. Trial counsel, however, only ever complained that Mr. Cruz-Garcia “refused to discuss the


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   The Director argues that trial counsel also presented Mr. Cruz-Garcia’s life history through cross-examination of
“fellow drug dealer Santana, and Angelita Rodriguez, Cruz-Garcia’s ex-wife.” ECF No. 85 at 156. But Ms. Rodriguez did
not testify at punishment and Mr. Santana testified on cross-examination that Mr. Cruz-Garcia had committed at least
one other murder and one other violent assault. 25 RR 87–95.

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facts of the primary case with counsel” and never alleged that he refused to discuss mitigation-related

matters. Indeed, any such contention is refuted by trial counsel’s statements on the record that Mr.

Cruz-Garcia informed them of his assistance to federal law enforcement. 24 RR 71. Regardless,

under clearly established federal law, a client’s alleged uncooperativeness does not relieve trial

counsel of their duty to conduct a reasonable mitigation investigation. See Porter v, 558 U.S. at 40.

        By trial counsel’s own admission, they “banked” on their mitigation case. 4 SHCR 947. From

this perspective, it cannot then have been reasonable for trial counsel to so limit the investigation

and presentation of mitigation evidence. Trial counsel’s mitigation and investigation objectively fell

below prevailing professional norms, as set out in the ABA and Texas Guidelines and reflected by

standard practice in Harris County. The CCA therefore unreasonably applied clearly established

federal law by concluding that trial counsel’s acts and omissions did not constitute deficient

performance.

                              b. Future dangerousness

        Likewise, the CCA unreasonably applied clearly established federal law by concluding that

trial counsel’s failure to investigate, and concession of, the future dangerousness special issue did

not constitute deficient performance. Under clearly established federal law, “[t]he benchmark for

judging any claim of ineffectiveness must be whether counsel’s conduct so undermined the proper

functioning of the adversarial process that the trial cannot be relied on as having produced a just

result.” Strickland, 466 U.S. at 686.

        In state habeas, trial counsel did not dispute the allegation that they had not conducted any

investigation pertaining to future dangerousness. See 4 SHCR 945–47. By trial counsel’s own

admission, they conceded the future dangerousness special issue. Id. (Trial counsel “felt, and still

feel, that if this was what the jury would deliberate on we would lose for sure.”). But conceding the
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future dangerousness special issue can “hardly be the work of reasonable counsel.” Andrus v. Texas,

140 S. Ct. 1875, 1885 (2020).

        In trial counsel’s own words, and upon which the Director relies, see ECF No. 85 at 162,

trial counsel did not conduct any investigation relating to future dangerousness because they “ha[d]

not won a case on the future dangerousness question, or seen it done.” 4 SHCR 946. This reasoning,

however, cannot be credited as reasonably strategy. Clearly established federal law makes clear that

trial counsel’s decision-making must be based, and therefore evaluated, “on the facts of the particular

case.” Strickland, 466 U.S. at 689. It is not reasonable for trial counsel to not confront at all one of

two special sentencing issues mandated by the Texas capital sentencing scheme simply because they

have not previously succeeded on that issue in other cases. By that measure, it would be reasonable

for trial counsel to fail to pursue any issue irrespective of the client’s circumstances, simply because

they had not “seen it done.”

        Trial counsel further opined that, regardless of jurors’ sworn testimony on voir dire that they

would not automatically find the defendant to be a future danger, trial counsel “kn[e]w better.” Id.

But under Texas’ capital sentencing scheme, jurors are charged that they must deliberate on the

future dangerousness special issue. Tex. Code Crim. Proc. art. 37.071 § 2(d)(1). Here, however, trial

counsel avowedly abandoned any case on the future dangerousness special issue based on their belief

that jurors do not follow the law as charged. This likewise cannot be credited as reasonable

professional judgment.

        Trial counsel also represented that they conceded the future dangerousness special issue

because “the State does not seek the death penalty on cases where the crime is an aberration or

where the defendant does not have a history.” 4 SHCR 946. In other words, because the State sought


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the death penalty against Mr. Cruz-Garcia, he must have had a “history” such that future

dangerousness was a foregone conclusion. But, to the extent this version of the State’s charging

decision-making is to be believed, then trial counsel were firmly on notice of the necessity of

investigating the State’s case on future dangerousness. Cf Rompilla v. Beard, 545 U.S. 374, 385 (2005)

(“counsel ha[s] a duty to make all reasonable efforts to learn what they c[an] about the offense[s]” the

State intends to introduce against the defendant). It is then “common sense” that trial counsel

should have obtained and investigated the information underpinning the State’s future

dangerousness case against Mr. Cruz-Garcia. 23 Id. at 383.

         As noted supra, trial counsel’s abdication on the future dangerousness special issue is all the

more unreasonable considering that Mr. Cruz-Garcia himself gave trial counsel information with

which to rebut the State’s future dangerousness evidence that implicated Mr. Cruz-Garcia in a

kidnapping in Puerto Rico. Indeed, the record reflects that Mr. Cruz-Garcia attempted to have trial

counsel develop evidence going to his assistance to federal law enforcement in Puerto Rico, and

which was likely connected to the kidnapping allegations. 24 RR 70–73. Based on this critical

rebuttal information provided by Mr. Cruz-Garcia himself, it was unreasonable under clearly

established federal law to not investigate this information at all. See Strickland, 466 U.S. at 691.




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   On the record at trial, trial counsel indicated that they would not review the State’s file. 20 RR 186–87. In state
habeas, however, when confronted with this record, trial counsel alleged that they did review the file, 4 SHCR 945, and
the state court entered a finding of fact that trial counsel had reviewed the State’s file. 5 SHCR 1054. This finding,
however, only further underscores the unreasonableness of trial counsel’s failure to investigate and challenge the State’s
case on future dangerousness. The State’s file included, amongst other evidence, Mr. Cruz-Garcia’s Puerto Rican prison
records reflecting that he had never been disciplined, let alone convicted, in connection with the supposed prison escape
relied upon by the State to prove their case on future dangerousness. Those records reflected that, on the contrary, Mr.
Cruz-Garcia was a model prisoner who did not have any disciplinary record. ECF No. 18-38. In light of what these
records revealed, it was unreasonable under clearly established federal law for trial counsel to conduct no investigation
in connection with future dangerousness. See Wiggins, 539 U.S. at 527–28.

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       Finally, trial counsel sought to justify their concession of the future dangerousness special

issue by pointing to their case on mitigation. See 4 SHCR 946. But the “halfhearted” mitigation

evidence they did present, including a witness who had to seek out trial counsel to testify on behalf

of Mr. Cruz-Garcia, belies this contention. See Wiggins, 539 U.S. at 526. Tellingly, trial counsel

obtained funding to go to Puerto Rico, where Mr. Cruz-Garcia was alleged to have committed a

violent kidnapping and to have attempted to escape from a prison, and was therefore where much

of the State’s case on future dangerousness would have been investigated. Yet, no member of the

defense team ever traveled to Puerto Rico. This supposed decision to dispense with any investigation

into future dangerousness “resembles more a post hoc rationalization of counsel’s conduct than an

accurate description of their deliberations prior to sentencing.” Id. at 526–27.

       Moreover, the decision to present a case on mitigation defense certainly does not preclude

trial counsel from also investigating future dangerousness, or excuse trial counsel from doing so. See

id. at 535 (“While it may well have been strategically defensible upon a reasonably thorough

investigation to focus on Wiggins’ direct responsibility for the murder, the two sentencing strategies

are not necessarily mutually exclusive.”). In Williams, the Supreme Court rejected the supposed

reasonableness of counsel’s failure to uncover and present mitigating evidence as a tactical decision

to focus on other issues because counsel did not “fulfill their obligation to conduct a thorough

investigation of the defendant’s background.” Williams, 529 U.S. at 396.

       Under clearly established federal law, trial counsel have a “duty to make reasonable

investigations or to make a reasonable decision that makes particular investigation unnecessary.”

Strickland, 466 U.S. at 691. By trial counsel’s own admission, they did not investigate the future

dangerousness special issue and the state record makes clear that they likewise did not reasonably


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decide that such investigation was unnecessary. Reasonable professional judgment does not support

the concession of the future dangerousness special issue. The CCA thus unreasonably applied clearly

established federal law to Mr. Cruz-Garcia’s allegations and this Court can review this claim de novo.

                         ii.   Unreasonable application of clearly established federal law to
                               prejudice

          The CCA also unreasonably applied clearly established federal law when it held that Mr.

Cruz-Garcia had not been prejudiced. See Ex parte Cruz-Garcia, 2017 WL 4947132, at *2. Based on

the wealth of mitigation evidence, including evidence made known to trial counsel by Mr. Cruz-

Garcia but never put to the jury, “there is a reasonable probability that, but for counsel’s

unprofessional errors, the result of the proceedings would have been different.” Strickland, 466 U.S,

at 694.

          The Director argues that Mr. Cruz-Garcia cannot show that he was prejudiced by trial

counsel’s failure to investigate and present mitigation evidence because that evidence is “speculative

or cumulative.” ECF No. 85 at 159. But the jury never heard any evidence that Mr. Cruz-Garcia was

abandoned by his mother as a young child, forced into child labor, and beaten. See ECF No. 73 at

164–73. Nor did the jury hear any expert testimony as to the traumatic impact of these events on

Mr. Cruz-Garcia’s childhood and development. See id. at 176–78. The jury also did not hear any

evidence of Mr. Cruz-Garcia profound and sincere religious conversion while incarcerated in Puerto

Rico. See id. at 175–76, 184–192. And nor did the jury hear any evidence that Mr. Cruz-Garcia was

a model prisoner who took on a pastoral role during his incarceration. See id. Finally, the jury never

heard that Mr. Cruz-Garcia provided assistance to federal law enforcement. See id. at 178–79. There

is nothing cumulative nor speculative about this wealth of mitigation evidence.




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       Investigation of future dangerousness would have likewise yielded significant evidence to

undermine all critical aspects of the State’s case on future dangerousness. Mr. Cruz-Garcia’s alleged

role in the murder of Saul Flores was a critical tenet of the State’s case on future dangerousness. See

ECF No. 73 at 252 n.56, 182. Had they investigated these allegations, however, trial counsel could

have shown that the witnesses who implicated Mr. Cruz-Garcia were not credible. See ECF No. 73

at 182. Likewise, had trial counsel investigated the information Mr. Cruz-Garcia provided to his

counsel about his assistance to federal law enforcement, trial counsel could have undercut the

strength of the State’s evidence implicating Mr. Cruz-Garcia in a kidnapping in Puerto Rico. See id.

at 182–83. And, likewise as to the alleged beating by Mr. Cruz-Garcia of “Betico.” Id. at 183–84, 232

n.55. Glaringly, the jury never heard of Mr. Cruz-Garcia’s exemplary prison record in Puerto Rico.

The jury never heard, amongst other evidence, that Mr. Cruz-Garcia was a model inmate who took

a leadership role in religious services and was trusted with the keys to the prison, that he was not

considered to pose a danger as an inmate, and that Mr. Cruz-Garcia had no disciplinary record. See

ECF No. 73 at 175–76, 185–92.

       “This is not a case in which the new evidence ‘would barely have altered the sentencing

profile presented to the sentencing [jury]’.” Porter, 586 U.S. at 41 (quoting Strickland, 466 U.S. at

700). Because the State court’s adjudication resulted in a decision that is contrary to, or based on an

unreasonable application of, clearly established federal law under § 22254(d)(1), the Court can

review the merits of Mr. Cruz-Garcia’s allegations de novo.




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                    C. Subparts 4(D), 4(E), and 4(C)(7) are not barred by the statute of limitations

        The Director asserts that certain subparts 4(D), 4(E), and 4(C)(7) of Mr. Cruz-Garcia’s IATC

claim are barred by the statute of limitations because they were not raised in his initial petition. ECF

No. 85 at 125–26. The Director is mistaken. The supposedly new subparts concern trial counsel’s

failure to adequately communicate with Mr. Cruz-Garcia (subpart 4(D)), trial counsel’s failure to

request a continuance (subpart 4(E)), and trial counsel’s failure to review the State’s file “pertaining

to the guilt/phase of trial” (subpart 4(C)(7)), ECF No. 85 at 124. As an initial matter, the Director’s

characterization of these subparts as separate “claims” is inaccurate. The subparts mostly consist of

record-based facts that, collectively with the entire IATC claim, show that trial counsel’s

representation was deficient throughout the case. As the statute of limitations applies to claims, as

opposed to facts supporting claims, the Director’s argument that these subparts are barred from

consideration is without merit. Martinez v. Hooks, 2021 WL 5100956, at *5 (W.D.N.C. 2021)

(“Additional facts that ‘merely support[] or strengthen[] a claim that could have been properly stated

without’ such facts do not create ‘a new factual predicate for purposes of triggering the statute of

limitations under § 2244(d)(1)(D).’” (quoting Rivas v. Fischer, 687 F.3d 514, 535 (2d Cir. 2012)

(alternations in original))).

        Even if these subparts were somehow separate claims, each were sufficiently identified in Mr.

Cruz-Garcia’s initial petition such that the allegations in the Second Amended Petition relate back

to that filing. “So long as the original and amended petitions state claims that are tied to a common

core of operative facts, relation back will be in order.” Mayle v. Felix, 545 U.S. 664, 664 (2005).

        In his initial petition, Mr. Cruz-Garcia discussed trial counsel’s failure to review the State’s

file on multiple occasions. He specifically identified the factual basis for his argument that trial

counsel failed to review the DNA evidence in the State’s file. ECF No. 12 at 52–54. In his section
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of pretrial investigative failures, he also alleged “[t]rial counsel failed to review files made available

to them by the District Attorney’s Office.” ECF No. 12 at 27. Mr. Cruz-Garcia also repeatedly alleged

the factual basis for his claim that trial counsel should have sought a continuance by discussing that

trial counsel had not dedicated adequate time to preparing for trial. See ECF No. 12 at 20 (noting

that because “[t]rial counsel’s investigation into, and preparation for, Mr. Cruz-Garcia’s trial fell

below prevailing professional norms[,]” “trial counsel were not adequately prepared to represent Mr.

Cruz-Garcia, and in turn the jury did not hear significant exculpatory evidence and evidence that

would have militated against the death penalty”); ECF No. 12 at 21 (“Trial counsel failed to maintain

a proper workload and as a result were prevented from devoting the time needed to adequately

prepare for Mr. Cruz-Garcia’s trial.”). Finally, in his initial petition, Mr. Cruz-Garcia cited a

Guideline discussing trial counsels’ need to adequately communicate with their client and noted

instances of communication failures. See, e.g., ECF No. 12 at 59, 120–22.

        The cases cited by the Director involve inapposite facts because in those cases the petitioner

raised claims in their amended petitions that either alleged a different legal theory or was based on

entirely new facts. In Mayle, the petitioner asserted in his initial petition that his Sixth Amendment

Confrontation Clause rights were violated by the introduction into evidence of the videotaped

testimony of a prosecution witness. 545 U.S. at 648. In his amended petition, the petitioner then

raised a claim that admission of his own statements during a pretrial interrogation violated his Fifth

Amendment right against self-incrimination. Id. at 649. In United States v. Gonzalez, 592 F.3d 675, 680

(5th Cir. 2009), the court held that a claim that trial counsel did not file an appeal did not relate

back to claims that trial counsel committed errors during the sentencing phase of the trial and in

coercing the defendant to take the case to trial. And in United States v. Ciampi, 419 F.3d 20, 24 (1st


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Cir. 2005), the jury convicted the petitioner of one count in the indictment but hung on eighteen

other counts. The petitioner subsequently pleaded guilty to two of those eighteen counts. He filed

an initial federal habeas petition alleging that his trial counsel performed deficiently by advising him

to accept the government’s plea offer. In any amended petition, he attempted to add a claim that

his trial court rendered ineffective assistance by failing to appeal the count on which the jury

convicted him. Because the new claim concerned a completely separate factual universe than what

was pled in the initial petition, the court held that the claims did not relate back. The other cases

cited by the Director are similarly off the mark. See F.D.I.C. v. Conner, 20 F.3d 1376, 1385–86 (5th

Cir. 1994) (holding that district court erred in finding that claims alleging losses suffered from loans

not referenced in original complaint did not relate back); McGregor v. La. State Univ. Bd. Of Sup’rs, 3

F.3d 850, 864 (5th Cir. 1993) (holding that claim that added “a new legal theory unsupported by

factual claims raised in the original complaint” did not relate back).

                   D. The Director’s arguments concerning the subparts he contends are
                      procedurally defaulted should not persuade the court

        The Director also argues that subsections 4(D), 4(E), 4(H), 4(J), and 4(C)(7) of Mr. Cruz-

Garcia’s IATC claim are procedurally defaulted because they were not raised in his initial state

habeas petition. ECF No. 85 at 126. Several of the subparts identified by the Director, however,

were raised in the initial state petition. Just as he did in his initial federal petition, Mr. Cruz-Garcia

discussed trial counsel’s failure to review the DNA evidence in the State’s file in his initial state

habeas application. 1 SHCR 56–61. Additionally, the Director does not dispute—and in fact

concedes—elsewhere in his brief that the subparts concerning trial counsel’s failure to preserve a

Confrontation Clause challenge to the court’s refusal to allow him to cross-examine State’s witnesses




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concerning the Houston Crime Lab and trial counsel’s failure to object to the court’s ex parte meeting

with juror Bowman are not procedurally defaulted. ECF No. 85 at 147–48.

        The Director acknowledges that Mr. Cruz-Garcia has argued that the procedural default of

his IATC claim, whether as a whole or with regards to the sections that are defaulted, is excused

because his state habeas counsel were ineffective. See Martinez v. Ryan, 566 U.S. 1 (2012). The

Director asserts that the Court cannot consider the evidence Mr. Cruz-Garcia has submitted

regarding the ineffectiveness of his state habeas counsel because it is barred by § 2254(e)(2) under

Shinn v. Martinez Ramirez, 142 S. Ct. 1718 (2022). The declaration from state habeas counsel

supporting his Martinez arguments as to the subparts the Director contends were procedurally

defaulted, however, was included with Mr. Cruz-Garcia’s second subsequent state habeas petition

and is therefore part of the state court record. ECF No. 73-9. And in any event, evidence of state

habeas counsel’s ineffectiveness, as opposed to evidence supporting the underlying Strickland claim,

is not barred by § 2254(e)(2) or Martinez Ramirez where the evidence supporting the underlying

IATC claim is already in the state court record, as it is here. 142 S. Ct. at 1738 (expressly declining

to hold that a federal court may not consider new evidence to establish cause and prejudice).

        The Director asserts that Mr. Cruz-Garcia cannot show that his state habeas counsel

performed deficiently in failing to raise these subparts because it was not “unreasonable for his state

habeas attorneys to use their limited time and resources to investigate and present the claims they

ultimately chose to present.” ECF No. 85 at 128. There was little outside-the-record investigation

necessary, however, for state habeas counsel to raise these subparts as they are overwhelmingly based

on the trial record.




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         The Director does not otherwise attempt to defend the performance of state habeas counsel.

Instead, the Director asserts that the subparts it contends are procedurally defaulted are not

“substantial,” and that therefore Mr. Cruz-Garcia was not prejudiced by his state habeas counsel’s

deficient performance. The Court should not be persuaded by the Director’s arguments on this

point.

         To show that a claim is “substantial” for purposes of the Martinez exception to procedural

default, the petitioner need only show that the claim “has some merit.” Ramey v. Davis, 942 F.3d

241, 255 (5th Cir. 2019). The subparts the Director contends are procedurally defaulted meet that

standard. For example, with respect to trial counsel’s failure to adequately communicate with Mr.

Cruz-Garcia and failure to seek a continuance, the Director asserts that the subparts are not

substantial because the ABA and Texas capital representation Guidelines trial counsel violated are

not themselves “the Constitution, laws, or treaties of the United States.” ECF No. 85 at 130. To be

clear, nowhere throughout his brief does the Director ever argue that trial counsel did not violate

each of the numerous Guidelines identified in Mr. Cruz-Garcia’s Second Amended Petition.

Moreover, Mr. Cruz-Garcia pointed out in his Second Amended Petition, the Supreme Court has

repeatedly identified ABA and local guidelines as highly persuasive authority for whether trial

counsel’s representation met the prevailing norms, as required by the Sixth Amendment. See ECF

No. 73 at 79–81. The Director’s inability to identify any way in which trial counsel’s representation

actually complied with the Guidelines makes clear that Mr. Cruz-Garcia’s IATC claim—and these

subparts in particular—are substantial.

         The Director also argues that, in asserting that trial counsel met with Mr. Cruz-Garcia only

twice outside the courtroom, Mr. Cruz-Garcia makes “extrapolations from mitigation investigator



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J.J. Gradoni’s affidavit” that are “merely speculation.” ECF No. 85 at 133. That is not the case. The

Director omits to mention that the state habeas court itself reached essentially the same conclusion,

finding that “whenever any member of the defense team spoke to the applicant, a certified

interpreter was present to assist with communication.” 5 SHCR 1052. Mr. Cruz-Garcia does not,

therefore, “gloss[] over counsel Madrid’s ability to speak Spanish.” ECF No. 85 at 131. Rather, in

light of the state court’s finding, Mr. Madrid’s ability speak Spanish confirms that he never visited

Mr. Cruz-Garcia, as he would not require “a certified interpreter.” And, as the Director concedes,

Mr. Cornelius only met with Mr. Cruz-Garcia twice throughout his entire representation. ECF No.

85 at 131. Again, these record-based subparts that are clearly substantial.

        With respect to the subpart concerning trial counsel’s failure’s to preserve errors, Mr. Cruz-

Garcia addresses those points elsewhere in his reply. See Claims Two, Nine, Ten, Eleven, Fourteen,

Fifteen. With respect to the subparts concerning trial counsel’s deficient performance during voir

dire, Mr. Cruz-Garcia stands on the briefing in his Second Amended Petition.

                   Mr. Cruz-Garcia is entitled to relief on the merits of his false testimony claim.

                   A. This Court can review the merits of this claim.

        This Court can reach the merits of this claim in one of two ways. First, by finding that the

state court’s dismissal of this claim was actually a merits adjudication and that Mr. Cruz-Garcia has

met the relitigation bar under 28 U.S.C. § 2254(d). ECF No. 73 at 237–38. Or, in the alternative

that Mr. Cruz-Garcia can excuse the default of this claim by establishing that cause and prejudice

exists or a miscarriage of justice occurred. Id. at 238–39. Regardless of which procedural path this

claim takes, relief is warranted.

        The Director’s position is that this claim is defaulted. ECF No. 85 at 54–55. He relies on

the CCA’s statement that it did not review the merits as “sufficient to rebut the presumption that

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the claims were adjudicated on the merits.” Id. at 55. However, as previously explained, that framing

alone does not resolve the question. ECF No. 73 at 237 (citing Rocha v. Thaler, 626 F.3d 815, 835

(5th Cir. 2010); Ruiz v. Quarterman, 504 F.3d 523, 527 (2007)). Because Mr. Cruz-Garcia raised this

claim under Texas Code of Criminal Procedure, Article 11.071 § (5)(a)(2), the state court dismissal

required a merits assessment of the federal claim. See Canales v. Stephens, 765 F.3d 551, 565 (5th Cir.

2014) (“If the CCA dismisses the petition under § 5(a)(2) or § 5(a)(3), this Court can also review it

under the standard in § 2254(d).”). Furthermore, for the reasons previously argued, the relitigation

bar under § 2254(d) is met. ECF No. 73 at 238.

        Even if the Director’s position on default is correct, this Court can still conduct a merits

analysis of this claim. The Director does not dispute that, where established, the State’s knowing

presentation of false testimony constitutes cause and prejudice sufficient to overcome the procedural

default of a false testimony claim. See ECF No. 85 at 55; see also Sparks v. Davis, 756 F. Appx. 397,

401 (5th Cir. 2018) (“Because the merits analysis of Sparks’s false testimony claim largely parallels

the ‘cause’ threshold he must clear, it is permissible to consolidate both issues into a single inquiry.”

(citing Banks v. Dretke, 540 U.S. 668, 686 (2004)). He argues, however, that Mr. Cruz-Garcia cannot

show cause and prejudice because “his claim fails to demonstrate the knowing presentation of any

false or material testimony.” ECF No. 85 at 55. As argued below, Mr. Cruz-Garcia can show that the

State knowingly presented false testimony that was material to his conviction and sentence, and can

therefore establish cause and prejudice to overcome the procedural default of this claim. In the

alternative, as argued supra Claim Two, Mr. Cruz-Garcia can show a miscarriage of justice and

overcome the default of this claim.




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                   B. False testimony impacted all critical aspects of the State’s case on guilt and
                      punishment.

                        1. Carmelo “Rudy” Santana

         The Director dismisses Mr. Santana’s false testimony at the guilt phase as “inconsistencies”

that were “known and addressed at trial.” ECF No. 85 at 56, 57. The Director, however, does not

identify what other witness or evidence before the jury establishes Mr. Santana’s testimony as

inconsistent only. Mr. Cruz-Garcia relies on Mr. Santana’s prior statements to establish the falsity of

his testimony to the jury. The jury still convicted Mr. Cruz-Garcia on the basis of false testimony

that went uncorrected by the State and was relied upon in closing argument. See 23 RR 36. Pointing

to “other grounds” showing the jury had some information the testimony may have been false does

not automatically “turn[] what was otherwise a tainted trial into a fair one.” Napue v. People of State

of Ill., 360 U.S. 264, 270 (1959).

         Furthermore, Mr. Santana’s testimony that he risked criminal prosecution based on his

testimony at Mr. Cruz-Garcia’s trial, as well as his testimony that he neither asked nor requested a

benefit in exchange for his testimony, does not reflect “inconsistencies.” ECF No. 85 at 56. The

Director argues that “the record refutes” that Mr. Santana testified falsely about receiving any benefit

in exchange for his testimony. ECF No. 85 at 57. In support thereof, the Director then points to

Mr. Santana’s own testimony that he did not receive a benefit. Id. at 58–59. But this is the very

testimony Mr. Cruz-Garcia identifies as false and thus does not refute Mr. Cruz-Garcia’s allegations.

The Director also argues that Mr. Santana’s testimony about his motivations for testifying are

“confirmed” by (1) Agent Ebersole’s testimony, (2) his attorney Ray Castro’s testimony in a separate

trial, and (3) a 2015 email from Assistant District Attorney Natalie Tise that there was no deal. Id.

at 58.


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       The Director’s reliance on Agent Ebersole’s testimony is unavailing when compared to Agent

Ebersole’s report from his interview with Mr. Santana about his involvement in the capital murder.

See ECF No. 18-101. That report reflects that Mr. Santana was clearly concerned about the risk of

prosecution and that Agent Ebersole “advised [Mr. Santana] that his cooperation would be made

known to the prosecutor and the presiding judge.” Id. at 2. Likewise, Ray Castro’s testimony at the

trial of Mr. Santana’s co-accomplice suggests only that Mr. Castro himself was not involved in

discussions of a deal. ECF No. 43-1 at 12. Finally, the 2015 email only restates the State’s position

that Mr. Santana could not be prosecuted for his actions. ECF No. 18-80. As argued in Mr. Cruz-

Garcia’s Second Amended Petition, however, this argument is not credible based on the trial court’s

ruling that Mr. Santana was an accomplice as a matter of law. See ECF No. 73 at 241–43.

       The Director also argues that Mr. Santana’s testimony that he risked prosecution—moments

before the State argued to the trial court that he was not an accomplice as a matter of law—is not

false testimony because the State could have charged Mr. Santana with “a crime” other than capital

murder. ECF No. 85 at 58–59. But Mr. Santana had just described to the jury his own role as an

accomplice in the kidnapping and murder of Angelo, including weighing down Angelo’s body with

rocks so that it would sink below the bayou. 20 RR 135–66. The Director cannot divorce the State’s

follow-up question about Mr. Santana’s criminal liability from his graphic testimony and pretend

that it was asking, nor that the jury understood, anything other than whether Mr. Santana risked

prosecution for his role in the capital murder of Angelo. Furthermore, the State’s objection to the

instruction that Mr. Santana was an accomplice as a matter of law makes clear its position that he

could not be charged with any crime in connection with the facts of the case. 22 RR 16.




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       Finally, the Director does not dispute that Mr. Santana testified falsely when he lied about

the gender of the victim of his prior conviction. ECF No. 85 at 60. He nonetheless argues that no

due process violation arises from this false testimony because “the record does not reflect that the

State knew Santana’s victim was a female.” Id. at 59–60. Here, however, the State is the same entity

who prosecuted Mr. Santana’s offense against a child. See ECF No. 18-79. The contention that the

Harris County District Attorney’s Office (HCDAO) somehow did not know the facts of the offense

that HCDAO prosecuted is not plausible, and certainly at minimum they are attributed constructive

knowledge. See Giglio v. United States, 405 U.S. 150, 154 (1972) (explaining that “[t]he prosecutor’s

office is an entity” and actions by individual prosecutors are attributed to the office as a whole for

purposes of the knowledge inquiry).

       Turning to materiality, the Director argues that Mr. Cruz-Garcia cannot show that Mr.

Santana’s false testimony was material because the DNA evidence and Angelita Rodriguez’s

testimony “still connected Cruz-Garcia to this crime.” ECF No. 85 at 60. But a claim of false

testimony requires only that a petitioner show that the testimony “could. . . in any reasonable

likelihood have affected the judgment of the jury.” Giglio, 405 U.S. at 153–54 (internal citation and

quotation omitted). This materiality standard does not require Mr. Cruz-Garcia to show that no

other evidence could have supported the jury’s guilty verdict. Here too, the DNA evidence has since

been largely recanted by the State, see ECF No. 73 at 77–78, and Mr. Cruz-Garcia also alleges that

Ms. Rodriguez’s testimony is false. See ECF No. 73 at 228–29.

       The Director’s further contention that defense counsel’s cross-examination somehow cured

any harm arising from Mr. Santana’s false testimony is belied by the Director’s own admission that

the jury “still credited” that testimony. ECF No. 85 at 60. Moreover, on cross-examination, Mr.


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Santana only doubled down on the falsehood that he was testifying at the risk of prosecution by

telling the jury that “in the computer it say, when I check it . . . the computer says that I have a

charge of killing.” 21 RR 15. Nor would Mr. Santana’s prior conviction have been of “minimal”

impeachment value, as argued by the Director, in light of the fact that it involved harm against a

child and would thus have seriously undermined Mr. Santana’s supposed horror at the thought of

harming Angelo, a child. ECF No. 85 at 60.

        Mr. Santana’s false statements are material precisely because, in the Director’s own words,

the jury “still credited his testimony.” ECF No. 85 at 60. Mr. Santana’s testimony was the only

testimony placing Mr. Cruz-Garcia at the scene of Angelo’s murder. Absent his testimony, the State

had no evidence of the events that allegedly unfolded after the masked men—whom neither Diana

Garcia nor Arturo Rodriguez could identify—took Angelo from his parents’ home. In closing, the

State told the jury that his testimony “filled in all the gaps for you.” 23 RR 98. In short, Mr. Santana

was the State’s star witness.

        But the jury would have had reason to doubt Mr. Santana’s story if they had known that Mr.

Santana would not be charged for any of the crimes he admitted to. Similarly, they likely would have

doubted Mr. Santana’s version of events if they had known that he had a history of assaulting

children. There is therefore a reasonable likelihood that Mr. Santana’s false testimony, which the

Director agrees was credited by the jury, affected the judgment of the jury.

                        2. DNA evidence

        Based on the 2015 report, the Director does not dispute (and certainly cannot dispute) that

the State relied on false testimony concerning the DNA evidence. The Director nonetheless argues

that “while we now know that the cited testimony was inaccurate, Cruz-Garcia cannot demonstrate



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that it was intentionally false, or that the state was aware of any falsity at the time of trial.” 24 ECF

No. 85 at 62. The Director, however, ignores the report of Dr. Hellwig, who identified flaws in the

State’s faulty analysis even prior to its own reanalysis. ECF No. 18-10. Hence, the State should have

known its DNA analysis was flawed even before it reanalyzed the DNA in 2015. The Director cannot,

therefore, excuse the State’s reliance on false DNA evidence by casting it as an unavoidable mistake. 25

         The Director also does not dispute that Dr. Hellwig’s findings about the conditions in which

the forensic evidence was stored and sent “differ” from the testimony of DNA analyst Matt Quartaro.

ECF No. 85 at 64. As set forth in the Second Amended Petition, Dr. Hellwig, concluded based on

the chain of custody documentation that key pieces of evidence were improperly stored. ECF No.

73 at 138 (quoting ECF No. 18-10). The cutting from the crotch of the red panties and the liquid

blood sample of Arturo Rodriguez were both found in unsealed envelopes. ECF No. 73 at 138–39;

ECF No. 18-10 at 3. The evidence bag containing the sexual assault kit and the vaginal swabs was



24
   The Director argues that the 2015 report revealed “discrepancies.” ECF No. 85 at 61. In that report, however, the
State recanted most of the DNA evidence from trial. At trial, the State introduced testimony that the DNA evidence
tied Mr. Cruz-Garcia to the cigar found at Diana Garcia’s apartment, to the vaginal swabs, and to the cutting from her
underwear. 21 RR 142–71. The State also introduced testimony that the DNA evidence identified Arturo Rodriguez as
the contributor to the minor component on the vaginal swabs and underwear cutting. Id. at 111–12, 113–14. This latter
identification was relied on by the State in closing to argue that because only Mr. Cruz-Garcia and Mr. Rodriguez’s DNA
evidence was identified, then Mr. Cruz-Garcia must have been the assailant:

         Ladies and gentlemen, if Obel Cruz-Garcia was not the one, if his DNA was there from some
         consensual sexual encounter that they made up out of whole cloth – and there is no evidence of that
         – where is the DNA of the guy who raped Diana? Where is it? Why don't we have it? If at some
         unknown time Obel Cruz-Garcia had a consensual relationship with Diana, again, that there is no
         evidence of, where is the DNA of the guy who raped her?

23 RR 82–83. The 2015 DNA report, however, establishes that no conclusion can be drawn as to the identity of the
“excessive number of contributors” to the DNA mixture on the vaginal swab, nor as to the identity of the contributor
to the minor component of the DNA mixture on the underwear cutting. ECF No. 18-11. In other words, contrary to
the testimony at trial, the DNA evidence does not tie Mr. Cruz-Garcia to the vaginal swabs and does not tie Mr.
Rodriguez to any of this evidence. The testimony at trial was therefore false.
25
  To the extent the timing of the State’s knowledge of the falsity of this testimony is at issue, Mr. Cruz-Garcia has
requested discovery on when the State knew or should have known that the DNA evidence was false. ECF No. 75 at 14.


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also unsealed. Id. at 2. The Director argues, however, that knowledge of the falsity of Mr. Quartaro’s

testimony cannot be imputed to the State. ECF No. 85 at 64–65. The Director overlooks, however,

that the documents showing that the evidence was stored unsealed came from the chain of custody

documentation, which the State surely had access to. The State, therefore, should have known that

Mr. Quartaro testified falsely.

        The Director also asserts that even if Mr. Quartaro testified falsely about the storage of the

evidence, this issue was immaterial because “Cruz-Garcia’s DNA was not transmitted to Orchid

Cellmark at the same time as the evidence.” ECF No. 85 at 65. The Director, however, ignores “the

extended timeframe between the original HPD/Genetic Design testing and the submission of this

evidence to Orchid Cellmark—roughly fifteen years,” when the evidence could have been

contaminated in any number of ways, not just by potential cross-exposure to Mr. Cruz-Garcia’s

sample. ECF No. 73 at 138; ECF No. 18-10 at 3. The Director also asserts that “Hellwig’s concerns

regarding degradation fail to explain why testing done in 2015 continued to link Cruz-Garcia’s DNA

to this evidence.” ECF No. 85 at 65. But, the DNA was not retested in 2015. Rather, the previous

testing data was reanalyzed. ECF No. 18-11. Dr. Hellwig’s “serious concerns as to the integrity of this

evidence” therefore remain entirely valid. ECF No. 18-10.

                        3. Angelita Rodriguez

        Along with Carmelo Santana, the only other witness to tie Mr. Cruz-Garcia to the murder

of Angelo was his ex-wife, who was also Mr. Santana’s cousin. At trial, she testified that Mr. Cruz-

Garcia had confessed to the murder to her when she traveled to the Dominican Republic to ask for

a divorce. 20 RR 105–07. But Ms. Rodriguez never made any allegation of the sort in any of the

statements she gave to law enforcement over the preceding 16 years. ECF No. 73 at 228–29.



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       The Director again dismisses Mr. Rodriguez’s testimony at trial as evidencing only

“inconsistencies.” ECF No. 85 at 66. But until her testimony at trial, Ms. Rodriguez never implicated

Mr. Cruz-Garcia. In her statements to law enforcement, she repeatedly denied any knowledge of the

circumstances of Angelo’s disappearance and death. ECF Nos. 18-73; 18-37. Her testimony at trial,

according to which she was estranged from Mr. Cruz-Garcia until she asked for a divorce and at

which point he supposedly confessed, is contradicted by an FBI report establishing that Ms.

Rodriguez was living with Mr. Cruz-Garcia in the Dominican Republic. ECF No. 18-15. The

Director further urges that, as with Mr. Santana’s testimony, Ms. Rodriguez “was cross-examined”

about never previously telling law enforcement about Mr. Cruz-Garcia’s supposed confession. ECF

No. 85 at 66. This, however, does not cure the due process violation. Napue, 360 U.S. at 270.

       Turning to materiality, the Director argues that “[a]t best this information could have served

as impeachment.” ECF No. 85 at 67. But this argument ignores how critical Ms. Rodriguez’s

testimony of a supposed confession by Mr. Cruz-Garcia was to the State’s case. In closing, the State

specifically drew the jury’s attention to Ms. Rodriguez’s testimony as corroboration for Mr.

Santana’s. 23 RR 37. There is therefore a reasonable likelihood that, had the jury known of her false

testimony, the jury’s judgment would have been affected.

                       4. Diana Garcia and Arturo Rodriguez & law enforcement

       At trial, Diana Garcia and Arturo Rodriguez testified that they had stopped dealing drugs

supplied by Mr. Cruz-Garcia shortly prior to the offense. Their testimony allowed the prosecution

to argue that Mr. Cruz-Garcia kidnapped and ordered the murder of Angelo as retaliation against

Ms. Garcia and Mr. Rodriguez. 18 RR 133, 204. In the absence of their testimony, the prosecution

would not have been able to explain why Mr. Cruz-Garcia might be motivated to murder Angelo.



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       But contemporaneous law enforcement reports establish that Ms. Garcia and Mr. Rodriguez

were still dealing drugs on the night of the offense and from the apartment from which Angelo was

kidnapped. ECF No. 18-24. Confronted with this clearly contradictory evidence going to the State’s

only evidence of supposed motive, the Director speculates that Ms. Garcia and Mr. Rodriguez “may

have been selling for another dealer” on the night of the offense and still angered Mr. Cruz-Garcia

by refusing to deal the drugs he supplied. ECF No. 85 at 64. But there is no evidence at all of this

supposed other dealer; indeed, the Director does not cite to anything in support of this theory. See

id. at 68–69. The Director cannot simply invent other characters in an attempt to save the State’s

only theory of Mr. Cruz-Garcia’s supposed motive. Moreover, Ms. Garcia testified that they never

sold drugs for anyone else. 18 RR 177.

       Ms. Garcia and Mr. Rodriguez’s supposed decision to stop selling drugs supplied by Mr.

Cruz-Garcia was the only theory of his supposed motive for kidnapping and ordering the murder of

Angelo. See 23 RR 98. There is therefore a reasonable likelihood that this false testimony as to motive

affected the judgment of the jury. See Giglio, 405 U.S. at 153–54.

                       5. Murder of Saul Flores & Puerto Rico kidnapping

       At punishment, Johnny Lopez and Rudy Santana testified extensively that Mr. Cruz-Garcia

had gruesomely murdered Saul Flores. See 25 RR 46–55, 74–82. Here too, the Director argues that

Mr. Cruz-Garcia “cites only inconsistencies among witnesses.” ECF No. 85 at 72, 75. There was no

testimony, however, contradicting Mr. Lopez and Mr. Santana’s testimony identifying Mr. Cruz-

Garcia as the perpetrator of Saul Flores’s murder. As with Mr. Cruz-Garcia’s other allegations of

false testimony, the Director further argues that both witnesses were “through[ly] cross-examined”

on the cause of death of Saul Flores and “any discrepancy . . . was for the jury to decide.” Id. at 75.



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The State nevertheless elicited or failed to correct false testimony. The Director also ignores the

declaration of Elizabeth Ramos. ECF No. 18-30.

        Their testimony pinning the murder of Saul Flores on Mr. Cruz-Garcia was clearly material.

The State relied on the murder of Saul Flores both as a reason to seek the death penalty against Mr.

Cruz-Garcia and as an extraneous offense at punishment in support of a death sentence. See ECF

No. 73 at 232 n.56. Yet, the State to this day continues to deny Mr. Cruz-Garcia access to records

relating to the murder of Saul Flores. See ECF Nos. 43-3; 43-4; 43-5.

        Likewise, the State also introduced extensive testimony of Mr. Cruz-Garcia’s alleged role in

a 2001 kidnapping in Puerto Rico. See ECF No. 73 233–34. The Director faults Mr. Cruz-Garcia for

failing to identify specific portions of testimony as false or describing their falsity. ECF No. 85 at 77.

Mr. Cruz-Garcia, however, has been unable to obtain further evidence and information on this issue

and has accordingly requested discovery on Mr. Cruz-Garcia’s assistance to federal law enforcement.

See ECF No. 75 at 19–20.

                   Mr. Cruz-Garcia is entitled to relief on the merits of his Brady claim.

                   A. This Court can review the merits of this claim.

        The Director acknowledges Mr. Cruz-Garcia’s argument that he can establish cause and

prejudice based on the State’s suppression of material exculpatory, impeachment, and mitigating

evidence. ECF No. 85 at 78; see ECF No. 73 at 250. However, he asserts that “Cruz-Garcia clearly

had the opportunity to raise these claims in his first state writ and failed to do so” and refers this

Court to his discussion of the merits of Mr. Cruz-Garcia’s discrete Brady allegations. ECF No. 85 at

78. The Director, however, makes no argument in support of this assertion with respect to most of

Mr. Cruz-Garcia’s allegations. This broad statement further ignores the Supreme Court’s clear

admonishment that “[a] rule thus declaring ‘prosecutor may hide, defendant must seek’ is not
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tenable in a system constitutionally bound to accord defendants due process.” Banks v. Dretke, 540

U.S. 696, 695 (2004). In Banks, the Supreme Court rejected the argument that the petitioner bore

the burden of discovering Brady evidence and raising a Brady claim where state suppression “might

have been detected.” Id. The Supreme Court emphasized that the State represented both at trial and

during State habeas that it had complied with its Brady obligations. Id. at 693; see also Strickler v.

Greene, 527 U.S. 263, 283–85 (1999). Notably, Mr. Cruz-Garcia filed multiple pre-trial motions for

Brady disclosure and renewed his request for Brady disclosure in state post-conviction, specifically

requesting information concerning, among other things, (1) “[a]ll deals or ‘consideration’ or promise

of ‘consideration’ given to or on behalf of all State witnesses or expected or hoped for by said State

witnesses;” and (2) “[e]vidence or information indicating the untruthfulness of a State witness.” ECF

No. 46-3 at 4; see also ECF No. 73 at 254–56. The post-conviction Brady motion was granted by the

state court. ECF No. 46-3 at 7.

                   B. The State suppressed material evidence.

                       1. State suppression of impeachment evidence against Mr. Santana

       Mr. Cruz-Garcia’s allegations that Mr. Santana received a deal in exchange for his testimony

against Mr. Cruz-Garcia is not based on “speculation.” ECF No. 85 at 79. Rather, it is based on the

fact that Mr. Santana was never charged with any offense after he testified to his role as an accomplice

as a matter of law in the capital murder of Angelo, his role in at least one other murder, and the

State’s implausible explanation for not charging him. See ECF No. 73 at 240–43. It is also based on

Agent Ebersole’s report from his interview with Mr. Santana, which established that Agent Ebersole

“advised him that his cooperation would be made known to the prosecutor and the presiding judge.”




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ECF No. 18-101. This assurance was indeed borne out as the State never brought any charges against

Mr. Santana. 26

           The Director argues that “[r]egardless, Mr. Santana was cross-examined on the fact that he

was never charged with any crime in connection with the case.” ECF No. 85 at 79. But defense

counsel could not have established through cross-examination that Mr. Santana was never charged;

this would have only become apparent once no charges were ever brought against him. Moreover,

on cross-examination, Mr. Santana testified that he had been charged with “a killing.” 21 RR 15.

           Cross-examination by the defense further does not demonstrate that the undisclosed deal

was immaterial. ECF No. 85 at 79. As the Director acknowledges, the jury still credited Mr. Santana’s

testimony. Id. at 60. The Director also argues that “the jury was reminded to take into account [Mr.

Santana’s] own culpability.” Id. at 79. But absent the disclosure of the deal, his culpability only

reinforced his credibility to the jury as a witness who was testifying irrespective of the risk that he

would be prosecuted.

           Regarding Mr. Santana’s health records, the Director’s argument that the State prosecutor

did not personally know of these records ignores that “the [Brady] rule encompasses evidence ‘known

only to police investigators and not to the prosecutor.’” Strickler, 527 U.S. at 280–81 (quoting Kyles

v. Whitley, 514 U.S. 419, 438 (1995)). Mr. Santana, who stated that the maintained a “plethora” of

records that “illustrate my undeniable incompetence,” was housed in the Harris County jail, several

employees of which were witnesses at Mr. Cruz-Garcia’s trial. 20 RR 164; 25 RR 123–48. The

Director similarly contends that the HCDAO prosecutor did not know the gender of the victim of

Mr. Santana’s prior conviction, which determined whether that conviction was an impeachable


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     Mr. Cruz-Garcia has requested discovery on this issue. See ECF No. 75.


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offense. ECF No 85 at 80. But that prior offense was also prosecuted by the HCDAO. See Giglio v.

United States, 405 150, 154 (1972) (explaining that “[t]he prosecutor’s office is an entity” and actions

by individual prosecutors are attributed to the office as a whole); see also, supra, Claim Five.

                        2. State suppression of mitigation evidence

         The State suppressed evidence of Mr. Cruz-Garcia’s assistance to federal law enforcement.

See ECF No. 73 at 244–45. The Director argues that “mitigating evidence such as this does not satisfy

Brady.” ECF No. 85 at 82. But this ignores Brady’s plain statement that state suppression of evidence

favorable to an accused violates due process “where the evidence is material either to guilt or to

punishment[.]” Brady v. Maryland, 373 U.S. 83, 87 (1963) (emphasis added). Mitigation evidence is

plainly within the scope of Brady. The Director’s argument that this evidence “does not exculpate

him of murder,” ECF No. 85 at 82, does not remove it from the scope of Brady. See Cone v. Bell, 556

U.S. 449 (2009) (although evidence of drug abuse would have been of no avail to defendant’s case

on guilt, that evidence “may well have been material to the jury's assessment of the proper

punishment in this case” and its suppression would therefore violate Brady). Moreover, the Director

concedes that the FBI, including an agent who testified on behalf of the State at the punishment

phase, was “part of the investigative process in this case,” ECF No. 84 at 13 n.5, and the trial record

makes clear that the FBI was aware of Mr. Cruz-Garcia’s assistance to U.S. law enforcement. 24 RR

71–72.

                        3. State suppression of other exculpatory and impeachment evidence

         The Director argues that Mr. Cruz-Garcia cannot establish that Angelita Rodriguez received

a benefit for her testimony because there is no connection between a prior arrest warrant and the

2016 letter from HCDAO Assistant District Attorney Natalie Tise supporting Ms. Rodriguez’s



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adjustment of status. ECF No. 85 at 163–64. Mr. Cruz-Garcia, however, has never alleged such a

link. The benefit received by Ms. Rodriguez, and which was not disclosed to the defense, was Ms.

Tise’s support in adjusting her immigration status. ECF No. 73 at 246 (citing Ex. 113). Separately,

Mr. Cruz-Garcia alleges that the State also withheld other impeachment evidence, including Ms.

Rodriguez’s criminal and immigration record. Id. (citing Ex. 18-73; 18-75).

       The Director also argues that documents going to the credibility of Diana Garcia and Arturo

Rodriguez are not material because their credibility was thoroughly addressed at trial. ECF No. 85

at 87. The testimony the Director identifies, however, does not support that assertion. Law

enforcement testified that Ms. Garcia and Mr. Rodriguez were ultimately truthful about the facts of

the crime, whereas law enforcement reports indicate that they did not believe they were being

truthful at all. ECF No. 73 at 154. The Director also asserts as to several documents that “none of

these documents are exculpatory or material.” ECF No. 85 at 87. Those documents, however, are

largely redacted and the Director cannot therefore assert that they do not contain exculpatory or

material information. See ECF Nos. 18-16, 18-17, 18-18. Those portions that are not redacted

indicated that law enforcement had a second theory of the crime.

                       4. Materiality

       Throughout his Answer on Claim Six, the Director individually and narrowly disputes the

materiality of each item of exculpatory, impeachment, and mitigating evidence suppressed by the

State. Brady materiality, however, must be assessed cumulatively.




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                      Mr. Cruz-Garcia is entitled to relief on his claim that the trial court coercively
                      instructed Juror Bowman.

                      A. Mr. Cruz-Garcia can show cause and prejudice for his procedural default.

         The Director argues that Mr. Cruz-Garcia cannot overcome the procedural default of this

claim because he has not shown that anything external to him caused the default. ECF No. 85 at

90. Specifically, the Director asserts that Mr. Cruz-Garcia “provides nothing to support his allegation

that the trial court did not provide a truthful accounting of her meeting with Juror Bowman.” Id.

         But this ignores trial counsel’s written statements, in which Mr. Madrid recounts that Judge

Magee reported only that Juror Bowman “questioned how long deliberations would last.” 3 CR 606;

ECF No. 73 at 252. And Mr. Madrid later expressed shock when he realized the full scope of Judge

Magee’s conversation with Juror Bowman, stating “I do not ever remember being told that the juror

said that she could never come to an agreement with the other jurors. It sounds unbelievable reading

the transcript.” 3 SHCR 611. Both Mr. Cornelius and Mr. Madrid agreed that they would have

moved for a mistrial if they had known the true scope of Judge Magee’s conversation with Juror

Bowman. Id. at 611–12. Notably, Judge Magee did not contemporaneously apprise counsel of the

true content of her conversation with Juror Bowman on the record. See 27 RR 8–14.

         The Director does not argue that Mr. Cruz-Garcia cannot show prejudice to overcome his

procedural default. 27




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   In the section of his argument on cause and prejudice, the Director argues that “[t]he trial court’s findings on the
conversation between the court and juror Bowman, see SHCR-02 at 1059–66, are presumed correct, absent clear and
convincing evidence.” ECF No. 85 at 90. The Director does not argue that these findings impact the cause and prejudice
analysis, nor is it clear how they would. Regardless, in its last reasoned decision on this claim, the CCA rejected this
claim as procedurally barred. Ex parte Cruz-Garcia, 2017 WL 4947132, at *1. Accordingly, the convicting court’s findings
of fact on this claim did not survive the CCA’s review, so this Court does not owe deference to them.


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                   B. Mr. Cruz-Garcia’s claim that the trial court coercively instructed a juror has
                      merit.

        The Director argues that Mr. Cruz-Garcia’s claim that Judge Magee coercively instructed

Juror Bowman is meritless because Judge Magee does not recall coercing Juror Bowman. ECF No.

85 at 90. The Director, however, does not cite any case law in support of the notion that the issue

turns on a judge’s subjective recollection.

        Indeed, it does not. It is not necessary that a trial judge intend to coerce a verdict; it is only

necessary that the judge’s conduct had the effect of coercing a verdict. See United States v. United States

Gypsum Co., 438 U.S. 422, 460 (1978) (“Unexpected questions or comments can generate

unintended and misleading impressions of the judge's subjective personal views which have no place

in his instruction to the jury—all the more so when counsel are not present to challenge the

statements.”). And, although the Director correctly asserts that it is important to consider the

supplemental charge “in its context and under all the circumstances,” Lowenfield v. Phelps, 484 U.S.

231, 237 (1988) (citing Jenkins v. United States, 380 U.S. 445, 446 (1965) (per curiam)), the Director’s

“context” is reduced to splitting hairs over the precise language that Judge Magee used in her ex parte

instruction and whether Juror Bowman could have been replaced with an alternate juror. ECF No.

85 at 91.

        But the record in this case mirrors the ex parte juror communication that the Supreme Court

held was coercive in Gypsum Co. down to the precise language that the judge used. In Gypsum Co.,

trial counsel consented to an ex parte meeting between a jury foreman and the presiding judge at the

foreman’s request. Gypsum Co., 438 U.S. at 460. During that meeting, the jury foreman stated that

the jury was deadlocked, and the trial judge instructed the foreman to “see if [the jury] can come to

a verdict.” Id. at 433 n.9; see also United States v. United States Gypsum Co., 550 F.2d 115, 132 (3rd

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Cir. 1977) (“The trial judge then instructed the foreman to ‘tell [the jury] to keep deliberating and

see if they can come to a verdict.’”). The Supreme Court took issue with the exchange, as it suggested

“the strong likelihood that the foreman carried away from the meeting the impression that the judge

wanted a verdict ‘one way or the other.’” 438 U.S. at 460. The Court ultimately concluded that

        it is not simply the action of the judge in having the private meeting with the jury
        foreman, standing alone—undesirable as that procedure is—which constitutes the
        error; rather, it is the fact that the ex parte discussion was inadvertently allowed to
        drift into what amounted to a supplemental instruction to the foreman relating to
        the jury's obligation to return a verdict, coupled with the fact that counsel were
        denied any chance to correct whatever mistaken impression the foreman might have
        taken from this conversation, that we find most troubling.

Id. at 462.

        There is no discernable difference between the improper instruction in Gypsum Co. and

Judge Magee’s instruction to Juror Bowman that she must “deliberate back there and try to find out

whether you can reach a verdict or not.” ECF No. 85 at 91 (quoting 27 RR 8). Just as in Gypsum Co.,

the transcript of Judge Magee’s meeting with Juror Bowman contained several references to the jury’s

deadlock. As in Gypsum Co., “The judge’s report to counsel summarizing the discussion made no

reference to either [the deadlock or the supplemental instruction.]” Gypsum Co., 438 U.S. at 460.

And, as in Gypsum Co., counsel were denied any opportunity to correct Juror Bowman’s mistaken

impression that she must render a verdict or remain sequestered. 3 CR 610–11.

        Finally, Mr. Cruz-Garcia does not assert—as the Director appears to suggest—that Judge

Magee should have excused Juror Bowman from her jury service. See ECF No. 87 at 91. He argues

only that his constitutional right to an uncoerced jury verdict be honored; a right “which could

readily have been accomplished by requesting that the whole jury be called into the courtroom for a

clarifying instruction.” Gypsum Co., 438 U.S. at 461.



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                   Mr. Cruz-Garcia is entitled to relief on his ineffective assistance of direct appeal
                   counsel claim.

        The Director argues that this Court must deny Mr. Cruz-Garcia’s claim of ineffective

assistance of direct-appeal counsel because he cannot overcome the § 2254(d) relitigation bar. ECF

No. 85 at 94. The Director’s argument is two-fold. First, he argues that, under § 2254(d)(1), the state

habeas court’s denial of this claim did not involve an unreasonable application of clearly established

federal law. Id. Second, he argues that, under § 2254(d)(2), the state habeas court’s denial of this

claim was not based upon an unreasonable determination of the facts. Id. The Director is incorrect

as to both.

                   A. It was legally unreasonable under § 2254(d)(1) for the state habeas court to
                      conclude that direct appeal counsel was not ineffective for failing to raise
                      this claim.

        Under clearly established Supreme Court precedent, a petitioner must show (1) that direct-

appeal counsel was deficient and (2) that this deficiency prejudiced the petitioner in order to prevail

on a claim of ineffective assistance of direct-appeal counsel. Smith v. Robbins, 528 U.S. 259, 285

(2000). To constitute deficient performance, “the decision not to raise an issue must fall ‘below an

objective standard of reasonableness.’” United States v. Phillips, 210 F.3d 345, 348 (2000) (quoting

Strickland, 466 U.S. at 688). “This reasonableness standard requires counsel ‘to research relevant

facts and law, or make an informed decision that certain avenues will not prove fruitful’” and to

raise “[s]olid, meritorious arguments based on directly controlling precedent.” Id. (quoting United

States v. Williamson, 183 F.3d 458, 462 (5th Cir. 1999)) Here, as shown supra in Claim Seven, direct

appeal counsel failed to raise “a sufficiently meritorious issue,” and there is a reasonable probability

that Mr. Cruz-Garcia would have prevailed on this issue. Phillips, 210 F.3d at 348.




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       Notably, the Director does not dispute that direct appeal counsel could have challenged Judge

Magee’s ex parte juror instruction. Instead, the Director argues only that direct-appeal counsel was

not deficient for failing to do so “[b]ecause that ground is without merit.” ECF No. 85 at 93. As

established supra in Claim Seven, however, this ground is governed by “directly controlling

precedent” and clearly meritorious. Williamson, 183 F.3d at 463. As in Williamson, the cases relevant

to this claim—namely, Gypsum Co. and Lowenfield— “squarely addressed an issue exactly on point” for

Mr. Cruz-Garcia’s appeal. Williamson, 183 F.3d at 463 (finding that direct-appeal counsel was

deficient for failing to raise a claim governed by directly controlling precedent); see Claim 7.

       The state court’s adjudication involved an unreasonable application of the Robbins/Strickland

standard and the Supreme Court’s opinions in United States Gypsum Co., 438 U.S. 422; Jenkins, 380

U.S. 445; and Lowenfield, 484 U.S. 231. ECF No. 73 at 231. The unreasonableness of the CCA’s

adjudication of this claim is underscored by the state court’s incorrect application of Gypsum Co. to

the facts of Mr. Cruz-Garcia’s case. The convicting court found that “the instant case is factually

distinguishable from that contemplated in the United States Supreme Court in United States v.

United States Gypsum Co.” because, among other things, “the trial judge in the primary case did not

seek out juror Bowman.” 5 SHCR 1066. But, as discussed in Claim 7, supra, the judge in Gypsum

Co. did not seek out the juror at issue there, either. Gypsum Co., 438 U.S. at 460 (stating that “the

jury foreman, on the morning of the seventh day of deliberations, requested a meeting with the

judge ‘to discuss the condition of the Jury and further guidance.’”). The CCA’s conclusions that

direct-appeal counsel was not ineffective rely on an obvious misreading of the case “squarely

addressing” the issue which direct-appeal counsel failed to raise, which satisfies § 2254(d)(1).




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        With respect to prejudice, Mr. Cruz-Garcia need only show that there was a reasonable

probability that he would have prevailed on direct appeal if counsel had challenged Judge Magee’s

ex parte instruction. See Robbins, 528 U.S. at 285. As shown supra, the facts of this claim mirror the

facts of Gypsum Co., down to the language used in the ex parte juror instruction. As a result, the state

court’s adjudication of this claim unreasonably applied Gypsum Co., which also satisfies § 2254(d)(1).

        Direct-appeal counsel was deficient by failing to raise a challenge that, based on directly

controlling Supreme Court precedent, would likely have succeeded. The state habeas court was

legally unreasonable when it ruled that direct-appeal counsel was not ineffective. Mr. Cruz-Garcia

therefore meets the§ 2254(d)(1) relitigation bar.

                   B. It was factually unreasonable under § 2254(d)(2) for the state habeas court
                      to conclude that direct-appeal counsel was not ineffective for failing to raise
                      this claim.

        In his Second Amended Petition, Mr. Cruz-Garcia argued that the CCA’s adjudication of

this claim was based on an unreasonable determination of the facts under § 2254(d)(2). ECF No.

73 at 231–32. The convicting court found that Mr. Cruz-Garcia “fail[ed] to demonstrate that trial

counsel were not aware of the substance of the trial judge’s conversation with juror Bowman after

their meeting in chambers.” 5 SHCR 1064. That was an unreasonable factual determination that

was squarely contradicted by the evidence before the state court. Mr. Cruz-Garcia therefore meets

the relitigation bar under § 2254(d)(2).

        This finding, however, is unsupported by the state court record, including trial counsel’s

affidavits and written statements which were before the convicting court. Notably, these findings

were made by Judge Magee, who was alleged to have issued the coercive instruction to Juror Bowman

and whose conduct was therefore directly implicated by these allegations. ECF No. 73 at 257. Trial

counsel’s affidavits and written statementsall agree that “[t]here is a huge difference between what
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we knew at the time and what has been said after the verdict was rendered.” 5 SCHR 948; see also 3

SHCR 606–07; 4 SHCR 954. These affidavits thus rebut the presumption of correctness afforded

to the state court’s findings by clear and convincing evidence. 28 U.S.C. § 2254(e)(1). Indeed, the

trial record itself is completely inconsistent with the state court’s findings. On the record, the trial

judge told trial counsel nothing about her ex parte meeting with Juror Bowman. In the affidavit he

submitted in support of Mr. Cruz-Garcia’s Motion for New Trial, Mr. Madrid stated only that “Judge

Magee stated that Ms. Bowman questioned how long deliberations would last.” 3 CR 572.

        The Director also does not identify any part of the habeas record indicating that Judge Magee

disclosed the full scope of her ex parte discussion with Juror Bowman. See ECF No. 85 at 94. The

explanation for this is simple: that evidence does not exist. It was therefore unreasonable for the trial

court to dismiss trial counsels’ affidavits and written statements to the contrary and instead make a

factual finding with no basis in the evidence.

                   Mr. Cruz-Garcia is entitled to relief on the merits of his claim that he was
                   excluded from critical stages of the trial.

        The Director correctly states that the defense “has no constitutional right to be present at

every interaction between a judge and a juror.” ECF No. 85 at 95 (citing United States v. Thomas, 724

F.3d 632, 644 (5th Cir. 2013)). Mr. Cruz-Garcia has never alleged the contrary. See ECF No. 73 at

257–60. But the Director has divorced this quotation from its context in the case law and thus

incorrectly applies it to the facts of Mr. Cruz-Garcia’s case.

        The Director’s quotation originates in United States v. Gagnon, 470 U.S. 522 (1985), which

Mr. Cruz-Garcia discussed and distinguished in his Second Amended Petition. ECF No. 73 at 257–

60. There, the Supreme Court ruled that an in camera discussion between a judge, a juror, and

Gagnon’s counsel did not violate due process. See id. The conversation originated when a juror

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noticed that Gagnon, an artist, was sketching jurors during his trial, and it concluded when the juror

was assured that Gagnon would stop sketching. Id. at 523–24. The Supreme Court held that the in

camera discussion was only “a short interlude” and that Gagnon “could have done nothing had [he]

been at the conference, nor would [he] have gained anything by attending.” Id. at 527. The Court

in Gagnon nonetheless reaffirmed that a defendant does have a constitutional right to be present at a

proceeding "whenever his presence has a relation, reasonably substantial, to the fulness of his

opportunity to defend against the charge.” Id. at 526 (quoting Snyder v. Massachusetts, 291 U.S. 97,

105–06 (1934)).

       Here, unlike in Gagnon, Mr. Cruz-Garcia was excluded from proceedings where his presence

had a reasonably substantial relation to his ability to defend his case. Mr. Cruz-Garcia was not

present when Judge Magee gave coercive ex parte instructions to a holdout juror, see supra Claim

Seven, or when Judge Magee recounted her meeting with Mr. Cassareto concerning the improper

conversation between jurors on the elevator. See supra Claim One (B). Indeed, the trial court

explicitly acknowledged that allegations of juror misconduct “could have serious ramifications to the

outcome of this case.” 24 RR 7. These are not instances where Mr. Cruz-Garcia could have done

nothing had he been present. 470 U.S. at 527.

       Each of these instances rises above simply sketching during a trial, Gagnon, 470 U.S. 522, or

deciding how to respond to a juror note, Thomas, 724 F.3d 632. Considered in light of the whole

record, Mr. Cruz-Garcia was not present at proceedings which impacted his opportunity to defend

himself, including by challenging Judge Magee’s coercive instructions to a holdout juror and juror

misconduct.




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       The Director also asserts that Mr. Cruz-Garcia cannot overcome the procedural default of

this claim based on a miscarriage of justice. Mr. Cruz-Garcia responds to those arguments under

Claim Two A.

                  Mr. Cruz-Garcia is entitled to relief on the merits of his claim that his rights
                  under the Confrontation Clause were violated.

       In his Second Amended Petition, Mr. Cruz-Garcia argued that he was denied the right to

confront witnesses when DNA analyst Matt Quartaro and medical examiner Dr. Dwayne Wolf

testified to forensic testing and analyses that they did not themselves perform. ECF No. 73 at 260–

62. Mr. Cruz-Garcia also argued that the admission of evidence produced by others via these experts

likewise violated his rights under the Confrontation Clause. The Director argues that, “[u]nder

Williams, Cruz-Garcia cannot demonstrate his rights under the Confrontation Clause have been

violated, given the availability of DNA analyst Matt Quartaro and Dr. Wolf for cross-examination

on their opinions.” ECF No. 85 at 99 (citing Williams v. Illinois, 567 U.S. 50, 57–58 (2012)).

       Williams is inapposite to Mr. Cruz-Garcia’s arguments. As the language quoted by the

Director from Williams shows, there, the Supreme Court examined whether “out-of-court statements

that are not offered to prove the truth of the matter asserted” fell within the scope of the

Confrontation Clause and held that they do not. 567 U.S. at 57. By contrast, the testimony of Mr.

Quartaro and Dr. Wolf were offered for the truth of the matter asserted.

       In particular, Mr. Quartaro testified that Orchid Cellmark obtained a complete DNA profile

from the cigar, the underwear cutting, and the vaginal swabs, and that Mr. Cruz-Garcia was a match.

21 RR 119–20. The State further admitted the cigar, the underwear cutting, and the vaginal swabs




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through Mr. Quartaro. Id. at 120, 124. 28 Mr. Quartaro’s testimony was clearly introduced for the

truth of the matter asserted; namely, that Mr. Cruz-Garcia was a match to the cigar, underwear

cutting, and the vaginal swabs. Mr. Quartaro, however, also testified that Orchid Cellmark “didn’t

perform every step.” 16 RR 52–52.

        Likewise, Dr. Wolf testified to results of the 1992 autopsy of Angelo that Dr. Wolf did not

himself perform, and the results of which were also introduced for the truth of the matter asserted,

namely cause of death. 21 RR 4–34. Dr. Wolf’s testimony to the results of the autopsy of Saul

Flores, which he did not perform, were also introduced for the truth of the matter asserted, namely

injuries to the decedent. See 25 RR 97–115. Dr. Wolf opined as to cause of death for both Angelo

and Saul Flores.

        Although Mr. Quartaro and Dr. Wolf may have been available for cross-examination on their

opinions, those who performed the forensic analyses to which they testified were not, a fact the

Director does not dispute. Accordingly, Mr. Cruz-Garcia’s Confrontation Clause rights were

violated.

                    Mr. Cruz-Garcia is entitled to relief on the merits of his claim that incorrect
                    translation of testimony violated his constitutional rights

        Twelve Spanish-speaking witnesses testifying at Mr. Cruz-Garcia’s trial were repeatedly

mistranslated to the jury, including translations into English that stated the opposite of what the

juror testified to in Spanish. ECF No. 73 at 264. The Director asserts that this does not entitle Mr.

Cruz-Garcia to federal habeas relief because the Supreme Court “has never discussed a constitutional




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  In his Second Amended Petition, Mr. Cruz-Garcia mistakenly cited the Volume of the Reporter’s Record in which
these exhibits as Volume 17.

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right to an interpreter in any context.” ECF No. 85 at 100 (citing Garcia v. Lumpkin, 824 Fed. Appx.

252, 255 (5th Cir. 2020)).

        Mr. Cruz-Garcia has never asserted that he had a constitutional right to an interpreter.

Rather, he argued that the improper translation of witness testimony frustrated his ability to assist

in his defense and to confront the witnesses against him. ECF No. 73 at 262–63 (citing Drope v.

Missouri, 420 U.S. 162, 171 (1975) and Crawford v. Washington, 541 U.S. 36, 42 (2004)).

        The only responsive argument that the Director makes is that Mr. Cruz-Garcia’s right to fair

trial was not violated because trial counsel Mario Madrid speaks fluent Spanish and could

understand the witnesses without a translator. ECF No. 85 at 101. But Mr. Madrid’s ability to speak

Spanish does not cure the mistranslations the jury heard. Nor does it mean that Mr. Cruz-Garcia

understood the proceedings before him and could assist in his defense. By this logic, it would be

acceptable to try mentally incompetent people because their counsel is known to be sane. But this

is not acceptable, and it is not the law. Drope, 420 U.S. at 171 (stating that a person “who lacks

capacity to understand the nature and object of the proceedings against him, to consult with counsel,

and to assist in his defense may not be subjected to trial.”).

        The Director also asserts that Mr. Cruz-Garcia cannot overcome the procedural default of

this claim based on a miscarriage of justice. Mr. Cruz-Garcia responds to those arguments under

Claim Two A.

                   Mr. Cruz-Garcia is entitled to relief on his claim that the trial court judge had
                   a conflict of interest and was biased against him.

        The Director argues that Mr. Cruz-Garcia cannot demonstrate that his due process rights

were violated by Judge Magee’s bias because he cannot show that “the court was actually biased.”

ECF No. 85 at 102. But this argument ignores the Supreme Court’s instructions that the inquiry is


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“not whether a judge harbors an actual, subjective bias, but instead whether, as an objective matter,

‘the average judge in his position is “likely” to be neutral, or whether there is an “unconstitutional

potential for bias.”’” Williams v. Pennsylvania, 579 U.S. 1, 8 (2016) (quoting Caperton v. A.T. Massey

Coal Co., 556 U.S. 868, 881 (2009)). Although due process guards against actual bias, Mr. Cruz-

Garcia is not required to show that Judge Magee was actually biased. Id. (“[T]he Court's precedents

apply an objective standard that, in the usual case, avoids having to determine whether actual bias

is present.”).

        The Director also argues that Mr. Cruz-Garcia cannot succeed on the merits of his bias claim

because he “fails to demonstrate that an ‘extrajudicial source’ influenced Judge Magee’s rulings[.]”

ECF No. 85 at 103 (quoting Liteky v. United States, 510 U.S. 540, 544 (1994)). But the Director’s

reliance on Liteky is inapposite. Likteky concerns the interpretation of 28 U.S.C. § 455(a), which

governs the circumstances under which a federal judge must recuse himself. See Liteky, 510 U.S., at

541. By contrast, Mr. Cruz-Garcia’s bias claim relies on the Due Process Clause.

        Finally, contrary to the Director’s argument, Mr. Cruz-Garcia does not allege that Judge

Magee presiding over his state habeas proceedings in and of itself demonstrates her bias. ECF No.

85 at 103. Rather, Mr. Cruz-Garcia argued that the manner in which she conducted the state habeas

proceedings—including by running for re-election during those proceedings on a campaign that

highlighted her role in Mr. Cruz-Garcia’s conviction and death sentence—demonstrated her bias. See

ECF No. 73 at 267–68.

        The Director also asserts that Mr. Cruz-Garcia cannot overcome the procedural default of

this claim based on a miscarriage of justice. Mr. Cruz-Garcia responds to those arguments under

Claim Two A.


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                   Mr. Cruz-Garcia is entitled to relief on the merits of his claim that the trial court
                   prevented him from presenting mitigating evidence.

       As set out in Mr. Cruz-Garcia’s Second Amended Petition, he was prevented from presenting

Bible study certificates as evidence of his devout faith and rehabilitation. ECF No. 73 at 269–70. He

was also prevented from presenting testimony that that he had assisted federal law enforcement. Id.

at 270. Mr. Cruz-Garcia was thus unable to both rebut the State’s evidence on punishment and

present key aspects of his case in mitigation. Id. at 270–71.

       The Director argues that Mr. Cruz-Garcia cannot meet the relitigation bar under 28 U.S.C.

§ 2254(d) as to this claim because the CCA on direct appeal “found no abuse of discretion in the

trial court’s rulings.” ECF No. 85 at 105 (citing Cruz-Garcia, 2015 WL 6528727, at *23–25). But this

finding by the CCA does not pertain to its adjudication of the federal constitutional claim that the

trial court’s exclusion of this mitigation evidence violated Mr. Cruz-Garcia’s constitutional rights.

Cruz-Garcia, 2015 WL 6528727, at *23. In ruling on the federal constitutional law claim, the CCA

held that “[t]he Constitution is implicated only if the evidentiary rule being employed to exclude

evidence is applied arbitrarily or unjustly and its application effectively precludes a defendant from

putting forth a defense.” Id. That adjudication, however, was contrary to clearly established federal

law. Under Chambers v. Mississippi, Crane v. Kentucky, and its progeny, a defendant’s right to present

a complete defense is not violated only where he is unable to present any defense at all. See Chambers,

410 U.S. at 302; Crane, 476 U.S. at 690. The CCA’s adjudication also resulted in a decision based

on an unreasonable application of this Supreme Court precedent to the facts of Mr. Cruz-Garcia’s

case. See ECF No. 73 at 270–71. The CCA’s adjudication is also an unreasonable application of

Lockett v. Ohio, 438 U.S. 586 (1978) because Mr. Cruz-Garcia was prevented from presenting




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mitigation evidence in violation of the Eighth Amendment. The Bible certificates 29 and evidence of

Mr. Cruz-Garcia’s assistance to law enforcement were powerful mitigating evidence.

                      Mr. Cruz-Garcia is entitled to relief on his claim that emotional outbursts
                      violated his right to a fair trial.

         On several occasions and over several days of the trial, family members repeatedly had

emotional outbursts in the courtroom and in the presence of the jury. ECF No. 73 at 271. These

grew so egregious that Judge Magee was forced to stop proceedings and remove the jury before

reprimanding the audience in the gallery. Id. The State was forced to remove the disruptive family

members, and Judge Magee noted that she did not “think [the outbursts were] appropriate. Id. (citing

20 RR 14).

         The Director asserts that Mr. Cruz-Garcia “concedes this claim is foreclosed by binding

precedent.” ECF No. 85 at 107. That is simply not the case. The page from Mr. Cruz-Garcia’s Second

Amended Petition that the Director cites to concerns a different claim entirely.

         The Director asserts that Mr. Cruz-Garcia’s claim fails because “[t]here is no clearly

established federal law, as stated by the Supreme Court.” that entitles him to relief. ECF No. 85 at

108. The Director therefore concludes that this claim is barred by Teague v. Lane, 489 U.S. 288

(1989). But this argument ignores the clearly established federal law at the time of Mr. Cruz-Garcia’s

trial, which Mr. Cruz-Garcia relies upon in support of this claim. See ECF No. 73 at 271 (quoting

Sheppard v. Maxwell, 384 U.S. 33, 350 (1966); Darden v. Wainwright, 477 U.S. 168, 181 (1986)).

Indeed, the Director makes no effort to distinguish the case law that Mr. Cruz-Garcia cites.




29
 The Supreme Court closely reviews claims that involve religion and religious practices. See Ramirez v. Collier, 142 S.
Ct. 1264 (2022); Murphy v. Collier, 139 S. Ct. 1475 (2019) (Mem).

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       The case law that the Director does cite is inapposite. The Director cites Carey v. Musladin,

549 U.S. 70, 76 (2006), which concerned button-wearing, as opposed to emotional outbursts. The

Director then cites to Coble v. State, 330 S.W.3d 253, 292 (Tex. Crim. App. 2010) and Gamboa v.

State, 296 S.W.3d 574, 580 (Tex. Crim. App. 2010). ECF No. 83 at 108. Both of these state cases

involved single outbursts, unlike the repeated outbursts that occurred in Mr. Cruz-Garcia’s case. In

Coble, the outburst came from a witness while testifying. And in Kinnamon v. Scott, 40 F.3d 731, 734

(5th Cir. 1994), it was unclear whether any outburst had even occurred. Moreover, it is unclear

whether the CCA resolved those claims under federal constitutional provisions.

       Mr. Cruz-Garcia relies on long-standing precedent for this claim. See Sheppard, 384 U.S. at

350 (holding that a defendant is entitled to be “fairly tried in a public tribunal free of prejudice

passion, [and] excitement”). He is not asking the Court to create a new rule of constitutional law.

The outbursts in his case biased the jury and rendered the proceedings fundamentally unfair.

       The Director also asserts that Mr. Cruz-Garcia cannot overcome the procedural default of

this claim based on a miscarriage of justice. Mr. Cruz-Garcia responds to those arguments under

Claim Two A.

                  Mr. Cruz-Garcia is entitled to relief on the merits of his claim that the
                  prosecution’s inflammatory comments violated his due process rights and right
                  to a fair trial.

       The State made inflammatory comments during voir dire and improper closing arguments

during the punishment-phase proceedings. These arguments repeatedly compared the facts of this

case to high-profile murders and compared Mr. Cruz-Garcia to a notorious serial killer that “likes to

torture and taunt his victims.” ECF No. 73 at 273. The prosecution also repeatedly dehumanized

Mr. Cruz-Garcia while cuing the jury that he was a foreigner, injecting racial and ethnic animus into



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the proceedings. Id. As the case law quoted by the Director makes clear, these comments were

improper because they were designed to be inflammatory. ECF No. 85 at 111 (quoting United State

v. Fields, 72 F.3d 1200, 1208 (5th Cir. 1996) (“[A]ppeals to the jury to act as the conscience of the

community are permissible, so long as they are not intended to inflame.” (emphasis added))). Moreover,

the State’s repeated comparisons in between this case and those of Charles Manson and Hitler were

certainly not “a reasonable deduction from the evidence.” ECF No. 85 at 111. These inflammatory

comments denied Mr. Cruz-Garcia his due process rights and deprived him of a fair trial.

                  Claims Sixteen through Twenty-One

       Mr. Cruz-Garcia acknowledges in his Second Amended Petition that Claims Sixteen through

Twenty-One are foreclosed by precedent. He does not concede those claims and preserves any

argument on the merits and in reply to the Director’s Supplemental Answer for later review.




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Respectfully submitted,
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                                    CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing Reply in Support of Second

Amended Petition has been served by CM/ECF upon counsel for Respondent on December 16,

2022:

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